Case 4:19-cv-07123-PJH Document 29-4 Filed 03/09/20 Page 1 of 70




                      EXHIBIT 3
       Case
       Case 4:19-cv-07123-PJH
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                              Document29-4
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                                                   09/03/14 Page
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                       :
In re: Nexium (Esomeprazole Magnesium) :           MDL No. 2409
Antitrust Litigation                   :
                                       :           Civil Action No. 1:12-md-02409-WGY
                                       :
This Document Relates To:              :
All Actions                            :
                                       :


        PROOF OF SERVICE OF TEVA PHARMACEUTICAL INDUSTRIES, LTD.


              Pursuant to Rule 4(f)(1) of the Federal Rules of Civil Procedure, Plaintiff CVS

Pharmacy, Inc. files the attached Proof of Service of Summons and Complaint upon Teva

Pharmaceutical Industries, Ltd., 5 Basel Street, Petach Tikva 49131 Israel. The Summons and

Complaint were served in conformity with the Hague Convention of 15th November, 1965. The

documents were served on June 9, 2014 upon Teva Pharmaceutical Industries, Ltd., Legal

Department, as more fully set forth in the attached Proof of Service and accompanying documents.

                                               Respectfully submitted,

Dated: September 3, 2014                       /s/ Monica L. Rebuck
                                               Monica L. Rebuck
                                               HANGLEY ARONCHICK SEGAL PUDLIN & SCHILLER
                                               4400 Deer Path Road, Suite 200
                                               Harrisburg, PA 17110
                                               Phone: (717) 364-1030
                                               Fax: (717) 364-1020
                                               mrebuck@hangley.com

                                               Counsel for Plaintiff CVS Pharmacy, Inc.
        Case
        Case 4:19-cv-07123-PJH
             1:12-md-02409-WGYDocument
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                                                                         2



                                   CERTIFICATE OF SERVICE


               I, Monica L. Rebuck, hereby certify that on this 3rd day of September, 2014, the

foregoing document was electronically filed using the CM/ECF system, which will automatically

send a Notice of Electronic Filing to all registered participants.



                                                   /s/ Monica L. Rebuck
                                                   Monica L. Rebuck
      Case1:12-md-02409-WGY
     Case   4:19-cv-07123-PJH Document
                              Document 29-4
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                                                               Page4 1ofof7067

LEGAL LANGUAGE SERVICES
              A Division of ALS International, Inc.                                       Telephone (913)341-3167
              8014 State Line Road                                                        Toll Froe (a00)755-5775
              Suite 110                                                                   Telefax   (913)341-316£3
              Leawood, KS 66208                                                           www.legallanguage.com




   August 7, 2014


   To whom it may concern:


   This is to certify that the attached translation from Hebrew into English is an accurate representation
   of the documents received by this office. These documents are designated as:


                Proof of International Service of Process in Israel upon the Defendant:
                                 Teva Pharmaceutical Industries Ltd.


   Maria Victoria Portuguez, Manager of this company, certifies that Eve Hecht, who translated this
   document, is fluent in Hebrew and standard North American English and qualified to translate. She
   attests to the following:

  "To the best of my knowledge, the accompanying text is a true, fiill and accurate translation of the
  specified document".




   Signature of Maria Victoria Portuguez

   Subscribed and sworn to before me this August 7, 2014.




  ___                           ~,~.~~~u~~~i~
  Vicki Farron                  ~~ F~N/+jR~~~i
                                             ti0'j'
  Notary Public, State ofI~ri~a~'~i~TARy
  nualified in 3ohnson CAtint~+~~ ~uesi.
  1Vly~co~nmissiam expired December 9, 2016 ~
                             .~



  Victor J. Hertz
  President
        Case1:12-md-02409-WGY
       Case   4:19-cv-07123-PJH Document
                                Document 29-4
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                                                                 Page5 2ofof7067



                           Appendix to Certificate of Service No. 3`I 9/14 -~ ~

                                                    Affidavit

I, the undersigned, Eitan Neumann, identity no. 586 5667, after h~vinc~ b~e;n cautioned that I must state
the truth and that I will be subject to the penalties sE;t fiorth by I~w if I do r~~~t do so, her~py ~i~fiirm ~s
follows:

 hereby give this affidavit iri support of service that was made by me; upon 1-ev~:~ Pharmaceutical
Industries Ltd, whose office is located ~t Basel Strut 5, Petacl~ Tikva.

Ori June 9, 2014 I visited at tfie aforementioned address and served court papers on the secretary of the
Legal Department, Ms. Aviva Osher, who affirmed to me that she is <authorized to receive legal
documents in the name of the company.

The certificate of service that is attached to tf~~is affidavit constitutes an inseparable part thereof.

My name is Eitan Neumann, the signature below is my signature, and the contents of my affidavit are, true
and accurate.

                                                             Lignature]               ___
                                                             Signature of affidavit witness


I, the undersigned, Yaakov Muzikant, Adv., hereby certify that on June 10, 2014

Mr. Eitan Neumann, ID no. 05 3615667, appeared before me, and after I cautioned him that fie must state
the truth and that he will be subject to the penalties set forth by law if he does not do so, he confirmc;d the
accuracy of the above declaration, and signed it.                           ~`~
                                                                                Yf~AKOV
                                                                               MUZIKANT,
                                                                                Attorney
June 10, 2014                                                        '~            set~lo.
Date                                                                 [ille Ible] 55594
                   Case1:12-md-02409-WGY
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Subscribed ands orn to before
me this ~~~7 ~ 10



Notary ?ublic     ~v               '~"—'---
              VICKi F~-"Rt~ON
     Notary Public, State ~f Kansas'
      C~uaiified in Jt~hrson ~otanty
 Commissi~r~ expires 6ece!n;ber 9, 2016
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                                                  09/03/14 Page
                                                            Page8 5ofof7067



                                             Revcr,se of'[he requ~~.st
                                                CIIt'I~If~I('A'I,f~,

 The undersigned authority has the hor7or to cerCifti, irl ~o~~l~c~rixiiky wi(I~ Arfic~lr~ 6 of the
 Cc~llvention,

 1)'Ihat the documents c~ii~~cted to I'~va I'h~rtnaeeutieal ~ncl~K4trie~ Laid, h<~veb~~n
 served'

      o    `I"he 9/6/2014

      o    At 7 Basel 5t. >Petach rI' kva 49:1.31

 - In one of the follo~~ing methods a~~rhorilecl by Article 5:

cz) In accord~~zice with the provisions oaf sub-par~lgraph (c~a) o~f' the first par~l~raph of
Article 5 of the Convention*.

The docunle~its ~'eferred to in the request have been cleliverecl to:

           identit~r and description of perso~l:

     o    relationship to the addressee: fl.uthorized Signer


Iii conformity with the second paragraph of Article 12 of the Convention, tl~e
applicant is requested to p~~r or reiinl~ursc the ex~eiases detailed in the attached
statement.

~rinexes

Documents returned :...............................................................................

In appropriate cases, documents estat~lishing the service:
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 LEGAL LANGUAGE SERVIC
~=_~-- c-----~ /1 Division ot~IL S h~~tem~~fion~~l, lr~c.                                               Tele:plion~~ (4)1 3) 341 316'7
      ~~        801 State Line Ro~~d                                                                     roll F r~E~ (8UO) /5:~i b/75
                Suite 110                                                                               7~elef ix    (~) 13) ~4'I 916F.>
   "-° ~ "'~'~— Leawood. KS 66208                                                                       wwwJEC~allan~ii<iyc..coin



  June 2, 2014

  VIA I+LI)ERAL I~XPRF,SS

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  HAGUE CFNTRAI~~ AU~I'F10RI'I'Y 1'OR ISRf1~;C,
  DirecroraCe of Gotirts
  22 Kanfei Neshei-in~ St.
  Jentsalem, 95464
  P.O.F3. 34142
  ISRAEL

            Re:     I~zte~~rzatioraczl Se1•vi~ce ofProcess tJzror~g/~ the IsF~czelz Cent~•al ~a~thority pru•srcatlt to
                    At•ticle S of'the Hagzre Sef~vicc,~ Conve~zti~o~~~
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                    CT:S PII~1IZMfICI; 1'NG a ASTRfill;NlsC;4 AI3, et crl.
                    Ci~~il Action Nn. 14-CV-11783-WGY
                    Master file 110.: 12-naci-02~t09-WGY

  Deal- Sirs:

 On behalf of oLir client and the United States District Court, District oI~ Massachusetts, I have the honor to
 transmit to you a Request ptiu-su~nC to the 1965 Hague Coni~ention~ o~~ the S~~r-vice ~1br~~oc~d ofJudicr~al an~c!
 L~~trajarclicia~l Doc~urzents in Gr~vr.l or C~~i~in~crcic~l ~vlcr.tters:

            Applicant:      I~~t~ina J. Slu~eefer~, Esq. end Apron D. I.,uldcen, Esq.
                            LEGAL LANGUAGE SERVICTS
           IN RE            NEXIUM (I,SONIERPIZAZOLE) AN"I'T'I'R~JST LI~I'IG~~ITION
           Plaintiff:       CVS PHAI~VIf1CY, INC.
           Defendants:      ASTRAZENEGA AB, et al.
                            (Iratern~tional Service of Process rrpoz~ t~~e Defendant:'I'EVA
                            P~~AI2iVIACI+~UTICAI~ INllUSTRIES,I.TD.)
           Civil Action No. 14-CV-1178-WCrY
           Master Pile No.: 12-md-0?409-WGY
           Method:          Personal service by a pri~~ate agent ~lut~zorized to serve process by the Israeli
                            Directorate of Courts

 The Regz~est is being forwarded to you in duplicate. Ms. Slu-eefer and Mr. Lulcken are requestitl service
 of process pursulnt to Article 5, paragraph 1, sub-paragraph (a) of the Ilagz~e SeY>>ice Converztzo~~r.

I'he persons gild entities within the Zhiited States con7petent to forward service requests pursLlant to
Article 3 include aizy court official, any attorney, or any other pet~son or entity authorized by the rules of
the court. (See U.S. declarations to the 196 Convention at the Hagtile Co~lference website:
IZttp://~vww.hcch.net/index_en.php?act==authorities.det~ils&aid= 279)

Because the plaintiff is Yznder tight deadii~e t~o serve the documents, I asl~ that yorr ~utliorize Tit~~i
Newin~n, a licensed IsY-~eli detective, to effect ser~~ice on yoYiY- behalf. Legal L~ngua~e Services has
made priv~ite ~irrangen~erits to pay fox- Pe~Ir•. Ne~~~in~n's fees foY- this service. VIr. Newman will be
contacting you du~ectly far your Further insiitiiction.
       Case1:12-md-02409-WGY
      Case  4:19-cv-07123-PJH Document
                               Document29-4
                                        976-1Filed  03/09/20
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The Hague Certificate may be returned by Mr. Newman to my offices, and I will then arrange to have it
filed it with the United States District Court, District of Massachusetts.

Please note that I stand ready to reimburse the United States District Court, District of Massachusetts as
well as the Israeli Central Authority for any costs which may be incurred in executing this Request in
accordance with Article 12 of the Hague Service Convention.

I hope you will not hesitate to contact me by telephone at 01.913.341.3167, by fax at 01.913.341.3168 or
by email at vportuguez@legallanguage.com if you have questions or concerns about any aspect of this
request.

Sincerely yours,

LEGAL LANGUAGE SERVICES
A Division ofALSlnternational, Inc.



Victoria Portuguez
International Litigation Support

Enclosures
                          Case1:12-md-02409-WGY
                         Case  4:19-cv-07123-PJH Document
                                                  Document29-4
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                                                 Convention on the sca'vice abroad ofjuclicial cud extrajadici.~l documents in civil or
                                                             cornmcrcial ~tiatters, signed at T'hc Ml.ig~uc, Novernbcr 15,1965.
                             Cor:ventiora relative a la signification el a !a nolificalion a !'etranger rtes actesjudiciuires ou eztrajudicinre,r en
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                             Identity and address of the applic~iit                                                            Address of receiving autliorit~~
                                 Identite et aclresse dtr regc~eran[                                                           Adresse de ('acrlor'i!c destirrataixe

    Karma J. Shreefer, Esq. and Aaron D. Lukken, Gsc~.                                                   FIAGUE CENTRAL AU'T'HORITY FOR ISRAEL
    LEGAL LANGUAGE SERVICES                                                                              Directorate of Courts
    8014 State Line Road, Suite 1 I 0                                                                    22 Kanfci Nesherim St.
    Leawood, Kansas 66208                                                                                JcrusaleAn, 95464
    UNITED STATES OF AMERICA                                                                             P.O.B. 34142
    Tel. 1.913341.3167                                                                                   ISIZt1~L

 Tlie tmdersigned applicant has the honour- to trlusmit -iti duplicate- the document listed Uclow aucl,
                                                                                                                            iti conformity with article 5 of the
 16ov~mentiaied Convention, requests prompt service of o~ie coE~y U~ereof on the addressee, i.e.,
          (identity and address)
 Le regtcerant soussigne a !'honne~r~- de faire parverzir—en doub/e exentp(air~e--« !'atrtori[e
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                                                                                                       un exempinire au destina~aire, savoir:
            (r.'der:ti[e et adr~esse)   TEVA PHARMACEUTICAL INDUS"PRIES, LTD.
                                        5 Basel Street, Petach Tikva 4913 I
                                        ISRAEL                   -OR-       wherever the Defendant may be found in ISRAEL
0          (:~) in accordance with the provisions ofsub-parlgraph (~)of the first p~ragr~ph of article 5 of the Convention.*
           (a)selon lesformes legates (article S, alinea premier, lettr~e a).
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The authority is requested to return or to have returned to the applicant a copy of the
                                                                                                       documents—and of tl~e annexes*—with a cec~tifrcnte
ns provided on the reverse side.
Cette autorite est priee de renvoyer ou de faire renvoye~• au regzeerant am e~emplaire de l'acte—et
                                                                                                                   de ses a~inexes—aver
Cattestationfgurant au verso.

TIIE PERSONS AND ENTITIES WITHIN THE UNITED STATES COA4P~TENT
                                                                                                   TO FORWARD SERVICE REQUESTS PURSUANT 'I'O
ARTICLE 3 INCLUDE ANY COURT OFFICIAL; ANY ATTORNEY; OR ANY OTHER
                                                                                                   PERSON OR ENTITY AUTHORIZED BY'tHE RULES OF
TITE COURT. (See U.S. declarations to the 1965 Convention at the Hague Conference website: http:/hvww.hcch.
                                                                                                            neUindex_en.php?act=authorities.details&aid=279)
List of documents
Enauneration des pieces

  Executed "Request," in duplicate
  "Certificate"(unexeculed), in duplicate                                                           Do»e at Leawood, I{ansas, U.S.A.               tl~e ~D~~tN~ ZC>
  "Summary," in duplicate                                                                           Fait d                                        !e
  "Notice," in duplicate                                                                            Sign:~ture artd/or stlinp.
  Summons in a Civil Action, in duplicate                                                           Signatiu-e et/ou each
  Complaint and Demand for Juiy Trial, in duplicate




'Delete if inappropriate
                                                                                                         (Pom~erly OBD-116 which was formerly LAA-116,                     USM-94
Rayer les iuentionr iiur[iles.
                                                                                                          bout ofwhiclt may still be used)                             (Fst. 11/?7/'77)
                          Case1:12-md-02409-WGY
                         Case   4:19-cv-07123-PJH Document
                                                  Document 29-4
                                                           976-1 Filed
                                                                   Filed03/09/20
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                                                                                                 (article 5,fourUi paragraph)
                                                                                                      (nr[icle 5, rrlinca 4)

    Name an<t address of the requesting authority:                                ICarin~i J. Shreefer, Esq. end Aaron D. Lukket~, Esq.
    Nom et adresse ate !'aietori~e reque~~~r~i~e :                                LECHII, LANGUAGE SI~I2VIC~S
                                                                                  8014 State Line Road, Suite 1 10, Leawood, IC~nsas 66208, U.S.A.
                                                                                  Tel. 1.913341.3167
    Particullrs of tl~c parties*:
    Identite r[es parties:           IN RE NEXiUM (ESOMEIZPRAZOL~) ANTITRUST LITIGATION
                                     CVS PHARMACY,INC., Plairatif/
                                     ASTRAZENECA AI3, AI<TIRBOLAGET HASSLE, et al., Defe~adanta•

                                                                                               .TUDICIAL DOCiJMT~NT'~
                                                                                                   AClE JUI~ICIAIRB
   Nature and purpose of the document:
   Nature et objet de !'acre:                To give notice to the Defendant of the couunencement of a civil claim
                                             arld Co summon it to answer or otherwise


   Nature :end purpose of the proceedings and, where 1ppropriate, the a~noiint
                                                                                  in dispute:
   Nature et objet de l'instarace, le cas echeant, le montant du litige: A civil action has been commenced against the Defendant.


  Date and place for entering appearance**:
   Date ec lien de la comparLrtion :Within twenty-one (21) days after' service of the Summons (not counting day of receipt), Defendant
                                                                                                                                         must serve
    upon Plaintiff's Attorney an Answer to the attached Complaint or a Motion under Rule
                                                                                               12 of the Federal Rules of Civil Procedure. Defendant
    also must file its Answer- or Motion with the United States District Court, District of
                                                                                            Massachusetts located at: John Joseph Moakley U.S
    Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210, U.S.A.
  Com•t which l~~s given judgmentx*:
  Juri4iction qz~i a rendu la decision:                            N/A


  Date ofjudgment**:
  Date de !a decision :                      N/A


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   must serve upon Plaintiff's Attorney an Answer to the attached Complaint or a Motion under
                                                                                                  Rule12 of the Federal Rues of Civil Procedure.
  If Defendant fails to respond, Judgment by Default will be entered against it for the
                                                                                        relief demanded in the Complaint. Defendant also must rile
  its Answer or Motion with the Court.

                                                                                     EXTRAJUDICIAL DOCUMENT**
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                            TEVA PHARMACEUTICAL INDtJSTRTES, LTD.
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                                                ISRAEL
                                                  -OR-
                             wherever the Defendant may be found in ISRAEL


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 AO 440(Rev. 06/f2) Summons in a Civil Action


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                                                  nor tt,~
                                                    District of Massachusetts


                   CVS PHARMACY INC.



                            Plaintiffs)
                                v.                                              Civil Action No. 14CV11788-WGY

          ASTRAZENECA BIOTECH AB, ET AL



                           Defendnnl(s)


                                                SUMMONS IN A CIVIL ACTION

To: (Defendanl's name anct address)
        Teva Pharmaceutical Industries, Ltd.
        5 Basel Street, PO Box 3190
        Detach Tikva 49131
        Israel

          A lawsuit has been filed against you.

         Within 2] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United  States or a United States agency, or an officer• or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




       If you fail to respond,jua,~r~~nt by de~a~i;t will be entered against you for the relief demanded in the complaint.
You also must file your answer car motion with the tia~.~rt.


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                              UNI'CL+;D STATE',S DiSTItICT COURT
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 1N RE NEXIUM (ESOMEPR~IZOLE)                               NIDL No. 2409
 ANTITRUST LITIGATION                                       Civil Action No. 12-md-02409
                                                            (WGY)

 CVS PHARMACY,INC.,
                                                            Civil fiction No.
                              Plaintiff,
                                                            COMPLAINT' AND
                                                            DEMAND FOR JURY TRIf\L
vs.

ASTRALENECA AB, AKTIEBOLAGET
HASSLE, ASTRAZ~NECA LP, RANBAXY
PFIARMACEUTICALS,1NC., RANBAXY INC.,
RANBAXY LABORATORIES LTD., TEVA
PHA.RMACEUTICA.L INDUSTRIES, LTD.,
TEVA PHARMACEUTICALS USA, INC.,
DR.IZ~DDY'S LABORATORIES LTD. and
DR. REDDY'S LABORATORIES,INC.,

                              Defendants


                        COMPLAINT AND DEMAND r'OR JURY TRIAL

         Plaintiff CVS Pharmacy, Inc.("CVS") brings this civil action against Defendants

Ash~aLeneca AB, Aktiebolaget Hassle Ind AstraZeneca LP (collectively, "AstraZeneca"),

Ranbaxy Pharmaceuticals, Inc., Ranbaxy Inc. and Ranbaxy Laboratories Ltd.(collectively,

"Ranbaxy"), Teva Pharmaceutical Industries, Ltd. and Teva Pharmaceuticals USA, Inc.

(collectively,"Teva"), and Dr. Reddy's Laboratories Ltd. and Dr. Reddy's Laboratories, Inc.

(collectively, "Dr•. Reddy's"). For• its Complaint, CVS alleges as follows:




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                                   NATDItE OF T'IIE; AC'I'ION

        1.      This 1 civil antitrust action seelcitlg treble damages and injunctive relief arising out

 ofDe~fendants' overarching scheme to monopolize the mncicet for del~lyed-eele~se esotn~pe~zole

 magnesium, sold by AstraZeneca L~rider the Mrand name Nexitul~. Nexiu~l~ is a proton pump

inhibitor• prescribed to patients for the he~lii~g of erosive esophagitis, Inainten~nce oFerosive

esophagitis, and treatment of symptomatic gastt•oesophageal t•e~I7uY disease. AstraZeneca

monopolized the market by entering into illegal market allocation cotlspiracies with, between, ai d

among three generic manufacturers Ind potential competitors -- RanbaYy, Teva, ~tnd Dr. Reddy's

(the "Generic Defendants")-- that were disguised as patent litigation settlements. In reality, the

settlements were payoffs by AstraZeileca to keep the generic drug makers, and potential

competitors, off the market.

       2.      To protect over $3 billion in anntilal Nexium sales from the tk7reat of generic

competition, AstraZeneca entered into non-competition agreements with each of the Generic

Defendants, agreeing to pay the Generic Defendants substantial sums in exchange for their

agreement ~o delay marketing their less expensive generic versions of NeXium fot• as long as six

years or' more, i.e., until May 27, 2014 (the "Exclusion Payment Agreements" or simply the

"Agreements"). The Generic Defendants did, in fact, delay marketing their less-expensive

versions of Nexium; but for the Agreements, generic versions of Nexium would have been

marketed in the United States by December 1, 2008, after the 30-month stay of FDA approval of

Ranbaxy's generic Nexium product expired.

       3.      Generic versions of brand name drugs contain the same active ingredient, and ai•e

determined by the FDA to be just as safe and effective, as their brand name counterparts. The




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 only difference between genetic atld brand name drugs is their price: ~enecics typie~illy enter the

 market at a disco~~nt of at least 25% a~i~~~ared to their brand co~~nterp~rts when there is Gt single

 generic competitor, end the discount typically inere~ses to 50% l0 80% (or more) when there ~tre

 multiple generic competitors on the n1~rl<et for a ~;ivei7 brand. The launch of a genccic drug thus

 usti~ally brings huge cost swings to ill drug purchasers.

        4.       Those same savings pose a grave threat to the monopoly profits o~f brand name

 drug companies such as AstraZei~eca. TDA-approved, AB-rated ~enet•ic versions of brand drugs

typically take 80% or more of the unit sales of the brand product soon after generic entry. Tl~e

Federal Trade Commission estimates that about one year after ma►•I<et entry, the generic version

takes oven 90% ofthe brand's unit sales and sells for 15% of the price of the brand name product.

        5.       In order to delay the deamatic loss of its monopoly profits from Nexiutn,

AstraZeneca engineered an overarching scheme whereby it purchased freedom ft•om competition

with the Generic Defendants and reduced the likelihood that its Nexium patents would be

invalidated. Specifically, AstraZeneca agreed to pay the Generic Defendants to delay entering

the mat•ket until May 27, 2014 and to drop their challenges to the Nexium patents. AstraZeneca

and the Generic Defendants attempted to disguise or• conceal these payments ($•equently called

"exclusion payments" or "reverse payments") as (i) compensation for• supplying AstraZeneca

with a portion of its requirements of esomept~azole magnesium, the active pharmaceutical

ingredient("API"); (ii) payments for distributing authorized generic versions oftwo other

AstraZeneca drugs, felodipine capsules (brand name, Plendil) and 40 mg omeprazole tablets

(brand name, Prilosec)(with respect to Ranbaxy); and/or (iii) forgiveness of contingent patent

infringement liabilities as a result of the at-risk launches of other products (with respect to Teva



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and Dr. Rec~dy's). AsteaZeneca further efCe~ctuated a substanCial reverse p~iyment by agreeing noC

to launch its own authorized generic version oFNexiutn in competition witfa Ranbaxy's peoduct

for a substantial period oftime. Defendants intentionally concealed the true purpose end nature

of these exclusion payments to avoid liability under tfle antitrust laws.

        6.       nithough the Exclusion Payment A~►'~ements purported to settle patent

infringement suits t11at AstraZenec~ Fled Against the Generic Dcfeilcia►its witk~ respect to patents

that pliipot-tedly cover Nexium, AstraZeneca used the strength of its wallet as opposed to the

strength of its patents to obtain the agreement of the Gene~~ic Defendants not to launc(1 their•

generic Nexium products. In light of the substantial possibility that Asti~aZeneca's N~exilim

patents would be invalidated and/or that the Generics' products would be adjedged non-infringing

-- iiz which case AstraZ~neca would have been unable to keep generic versions of Nexium from

swiftly taking the vast majority of sales of Nexium -- AstraZeneca agreed to share its monopoly

rents with the Generic Defendants as a quidpro quo for the Generic Defendants' agreement not to

compete with AstraZeneca in the delayed-release esomept~azole magnesium market until May 27,

2014.

        7.       The Generic Defendants knew that it would be more proftable to be paid not to

compete than to enter the market. Had the Generic Defendants all launched generic versions of

Nexium, as they were preparing and poised to do, the competition among them would have driven

down the price of generic Nexium. Once the~•e are multiple generic versions of the same brand

drug available, the generic becomes a commodity, with little to distinguish one generic from

another except price. By agreeing to delay entry in exchange for a portion of AstraZeneca's




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 monopoly profits fi•oul Nexium paid ~ls a Excll~sion Payment, the Generic L~~f~tlda►~t~s Icraew th~C

they could earn a g►•eater ~~•ofit than by sirnpfy selling generic Nexiliil~i.

        8.       AstraZeneca ~tnd Ranbaxy also la~ew and intended that their Exclusion Payment

Agreement would prevent other generic co~np~nies Cron launching t}leir own generic Nexium

before Ranbaxy,thereby cre~tin~ a bottleneck. As the First-filer of an ANDA for generic

Nexiuin, Ranbaxy is entitled to market its generic Nexiunl for 180 days free of competition from

other generic Nexium products (except ~t generic version authorized by AstraZenec~ pursuant to

its NDA). The operation of the exclusion Payment Agreement between AstraZeneca and

Ranbaxy blocked all other generic Nexium p~~odlicts from coming to market Lentil 180 days after

May 27, 2014 because, absent circumstances discussed below, the FDA will not approve

subsequently-filed ANDAs until Ranbaxy's exclusivity period has tun, which will not occur ~intil

180 days after Ranbaxy launches. It also blocked an authorized generic version of Nexium until

that same time, because as primary consideration for Ranbaxy's agreement to delay launch of

generic Nexium, Asti•aZeneca agreed not to launch an authorized generic version of Nexium until

180 days after Ranbaxy launched.

        9.      Although it is possible that Ranbaxy could forfeit its 180 day exclusivity by failing

to commence commercial marketing of its generic Nexium products within 75 days of a court

decision that all of the patents for Nexium listed in the FDA's list of Approved Drug Pt•oducts

with Therapeutic Equivalence Evaluations, commonly referred to as the "Orange Book," are

invalid or not infringed, AstraZeneca made sure that the second and third ANDA-filers for

Nexium -- Teva and Dr. Reddy's -- would not break the bottleneck caused by its Exclusion

Payment Agreement with Ranbaxy by obtaining such a court decision. When Teva and Dr.



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Reddy's were about to obtain a court determination ors the issue oC the invalidity and/o~~

non-infringement of the Nexiull~ patents, Asti•aZenecn paid them too, pursuant to tl~~ I;xcl~~sion

Payment Agreements, to drop their patent ch~lle~lges ar~d stay out of'the m~rlcet until after

Ranbaxy could enter the market pursuant to its Excl~~sion Paynlei~t Agreement with Astrl7eneca.

        10.    But for one or more of the L~nlawflil Agreements at issue here, gen~~•ic versions oaf

Nexitiin would have entered the u1ar1<et by December 1, 2008. Tl~c FDA ~rantecl tentative

app~•oval to Ranbaxy's generic Nexium pt•oducts on February 5, 2008, which, absent the illegal

Agreements complained of herein, would have been conve~•ted to a final approval ir1

approximately November'2008. Thus, absent Defendants' illegal Agreements, CVS would have

already been able to purchase its delayed-release esomeprazole magnesium rec~tiirements at

significantly lower prices. Because of Defendants' illegal agreements in restraint of trade,

however, CVS has been forced to pay high prices for branded Nexium.

        ll.    Defendants' unlawful Exchision Payment Agreements were designed to and did:

(a) block the entry of less expensive generic versions ofdelayed-release esomeprazole

magnesium in the United States;(b)fix or raise the prices of delayed-release esomept•azole

magnesium products;(c) permit Astt•aZeneca to maintain a monopoly in the United States fot~

delayed-release esomeprazole magnesium;(d)allocate 100% ofthe United States delayed-release

esomeprazole magnesium market to AstraZeneca; and (e) allocate 100% of United States generic

Nexium sales to Ranbaxy during the first 1.80 days of generic sales.

        12.    As alleged in more detail below, through their overarching anticompetitive

scheme, Defendants violated § 1 and § 2 of the Sherman Act through their conspiracy to




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improperly maintain their n~arlcet power by foreclosing compeCitiot~ from lower-priced ge~aeric

 ve1•sions of delayed-release esomeprazole m~gt~esiutn.

                                  JURISDICTIOl~T AND VENUE

         13.    This action arises under sections 1 and 2 ofthe Sherman f1ct, 15 U.S.C. §§lend 2,

and section 4 and 16 ofthe Clayton Act, 15 U.S.C. ~§ 15(a) and 26, to recover threefold damages,

injunctive relief, costs of suit and reasonable attoK•iaeys' fees for the injuries sustained by Plaintiff

resulting from Defendants' unlawful foreclosure ofthe United States market for delayed-release

esomeprazole magnesium (NexiL~m and its AB-mated generic equivalents). The Court has subject

matter jurisdiction under 28 U.S.C. §§ 1331 and 1337(x), 1407.

        14.     Defendants transact busiizess within this district and/ox have an went and/or can

be found in this district. Venue is appropriate within this district under section 12 of the Clayton

Act, 15 U.S.C. §§ 22, 28 U.S.C. §§ 1391(b) and (c), and 28 U.S.C. § 1407.

                                             PARTIES

        15.     Plaintiff CVS Pharmacy, Inc. is a corporation organized and existing under• the

laws of the State of Rhode Island with a principal place of business at One CVS Di•ive,

Woonsocket, Rhode Island 02895("CVS"). CVS purchases substantial quantities of

pharmaceutical pt•oducts and other' goods fot~ resale to the public through its mail service

dispensing pharmacies and more than 7,600 retail drugstores operated by i.ts affiliates. CVS

brings this action on its own behalf and as the assignee of McKesson Corporation and Cardinal

Health, Inc., both of which purchased Nexium directly from AstraZeneca during the relevant

period for resale to CVS. With respect to the claims asserted in this Complaint, CVS opted out of

the two classes certified by the Court in In re Nexium (Esonzeprazole) Antitrust Litigation, No.




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January 2014 in acco~~d~nce witf~i tl~e proced~~res approved by the Co~i~`t,

        16.     Defenda►~~ Ast~•a7.,eneca AB is a company organized and existing Linder the laws of

Sweden, having its principal place of business in Sodertalje, Sweden.

        17.     Defendant Aktiebolaget FIassle is ~ compiny organized anci existing under tf7e

laws of Sweden, having its principal }lace of business in Molndal, Sweden.

        18.     Defendant Astt~aZeneea LP is a limited parCnership organized under the laws of

Delaware, having its pt~incipal place of business in Wilmington, Delaware. AstraZeneca LP

holds an approved New Drug Application from the I'DA for ~ delayed-release esomepr•azole

ma~nesilim formulation that it sells throughout the United States under- the brand name Nexitim.

        19.    Defendants AstraZeneca AB, Aktiebolaget Hassle, and AstraZeneca LP are

referred to collectively herein as "AstraZeneca."

        20.    Defendant Ranbaxy Pharmaceuticals, Inc., is a company organized and existing

Linder the laws of Florida, with its principal place of business at 9431 Florida Mining Blvd. East,

Jacksonville, Florida, and having a place of business at 600 College Road East, Suite 2100,

Princeton, New Jersey. This defendant is a wholly-owned subsidiary of Ranbaxy Laboratories

Limited.

       21.     Defendant Ranbaxy Laboratories Limited is a public limited liability company

organized and existing under' the laws of India, with a principal place of business located at Plot

90, Sector• 32, Gurgaon-122001 (Haryana), India.

       22.     Defendant Ranbaxy, Inc. is a Delaware corporation, having a place of business at

600 College Road East, Suite 2100, Princeton, New Jersey.
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         24.   Defendants Ranb~xy Pharmaceuticals, Inc., Ranb~xy L~lbo~~~to~~ies Limi~Ced, end

Ranbaxy, Inc. (collectively "Ranbaxy") are engaged in CI1e worldwide n~ark~;tin~, prodL~ction and

distribution of generic pharmaceutical products.

         25.   Defendant Teva Pl~ar•maceutic~l Industries, Ltd. is an Israeli corpoeation, leaving

its principal place of business at 5 Basel St, P.O. Box. 3190, Pet~ch Tikva 49131, Israel.

         26.   Defendant Teva Pharmaceuticals USA, Inc. is a DelawaY•e coi~poi•ation, hiving

principal place of business at X090 Horsham Roac1, P.O. Box 1090, North Wales, Pennsylvania

19454.

         27.   Defendants Teva Pharmaceutical Industries, Ltd. and Teva Pharmaceuticals USn,

Inc. (collectively "Teva") are the largest generic manufacturers of pharmaceuticals in the world.

         28.   Defendant Dr. Reddy's Laboratories, Ltd, is an Indian pharmaceutical company

with its principal place of business at Door No 8-2-337, Road No 3, Banjara Hills, Hyde1•abad

500034, Andhra Pradesh, India.

         29.   Defendant Dr. Reddy's Labot•atories, Inc. is a New Jersey corporation with its

principal place of business at 200 Somerset Corp. Blvd., Bridgewater, New Jersey. On

information and belief Dr. Reddy's Laboratories, Inc. is a wholly owned subsidiary of Dr.

Reddy's Laboratories, Ltd. Both entities are referred to collectively herein as "Dr. Reddy's."

       30.     All of Defendants' actions described in this complaint are part of, and in

furtherance of, the unlawful conduct alleged herein, and were authorized, ordered, and/or done by

Defendants' various officers, agents, employees, or other representatives while actively engaged

in the management of Defendants' affairs (or that of their predecessors-in-interest) within the
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course and scope of their dirties and employment, and/or with the victual, ~p~~re~~t, ~incl/or

ostensible alrthority of Defendants.

                                   RFGULATORYI3ACKGROUNll

        A.      The Regulatory Structure f'or A~~proval of Ge~~eric llrugs
                and substitution of Ueueric Drugs for Brand Name Drubs

        31.     Under the Federal Food, Drug, and Cosmetic Act("FDCA"), man~rFact~u•ers who

create a new dr~lg product must obtain the approval of tale FDA to sell the r~ew drug by filing a

New Drtiig Application("NDA"). 21 U.S.C. §§ 30'1-392. An NDA must include submission of

specific data concerning the safety and effectiveness of the dt•L~g, as well as any information on

applicable patents. 21 U.S.C. § 355(a) and (b).

        32.     When the PDA approves a brand name manufacturer's NDA,the bz•and

manufacturet~ may list in the Orange Book any patents that the brand manufacturer believes could

reasonably be asserted against a generic manufacturer who makes, uses, or• sells a generic version

of the brand name drug prior to the expiration of the listed patents. Patents issued after NDA

approval that claim an approved drug or its approved use must be listed in the Ot•ange Book within

30 days of issuance. 21 U.S.C. § 355(b)(1) and (c)(2).

       33.     The FDA relies completely on the brand name manufacturer's truthfulness about

patent validity and applicability, as it does not have the resources or authority to verify the

manufacturer's patents for accuracy oi~ trustworthiness. In listing patents in the Orange Book,

the FDA merely performs a rr~inisterial act.

               1.        The Hatch-Waxman Amendments

       34.     The Hatch-Waxman Amendments, enacted in 1984, simplified the regulatory

hurdles for prospective gene►~ic manufacturers by eliminating the need for them to file lengthy and



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 costly NDAs. See Drug Price Con7petition and Patent Term Resto~~atio~i ~1ct o~[' 1984, Pub. I,.

No. 98-417, 98 Stat. ~l 585 (1984). I'u~suanl to Hatch-Wa~►nan, a generic ma~~ufact~irer seelcin~

approval to sell a generic version of a band na~~le dt~~ig may file an abbreviated new chug

application("ANDA"). ~1n ANDA relies on the scientific findings of safety and effectiveness

included in the brand name drug m~n~if~cturee's o►•iginal NDA, and must ~urthet• show that the

generic drug contains the same active ingredient(s), dos2ge form, route of administration, and

strength as the brand name drug, and is absorbed at the same t•~te and to the sanze extent as the

brand drug -- that is, that the ge►leric drug is pharmaceutically equivalent and bioequivalent to the

brand name drug.

        35.     The FDCA and Hatch-Waxman Amendments permit generic products to be

substituted for brand products if they are bioequivalent. The products must contain identical

amounts of the same active ingredients, have the same route of administz•ation and dosage foem,

and meet applicable standards of strength, quality, purity and identity. Bioequivalence

demonstrates that the active ingredient ofthe proposed generic drug would be present in the blood

of a patient to the same extent and for the same amount oftime as the branded counterpart, 21

U.S.C. § 355(j)(8)(B).

        36.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of

non-infringing generic competitors, thereby reducing healthcat~e expenses nationwide. Congress

a(so sought to protect pharmaceutical companies' incentives to create new and innovative

products.

       37.      The Hatch-Waxman Amendments achieved both goals, advancing substantially

the rate of generic product launches, and ushering in an era of historic high profit margins for
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 brand name phacm~celitical cotilp~nies. Ii1 1983, before the 1-[aCctt-Waxman Amendments, only

35% ofthetop-selling drugs with eYpir~;d patents had generic alternatives; by 1998, nearly Gill dici.

In 1984, prescription drug revenue foi• branded and genel•ic dregs lotaleci $21.6 billion, with

generic drugs accol~nting~ for only 18.6% of prescription rev~n~~e. Fay 2009, total prescription

drug revenue had soared to $300 billion, with generic dl•ugs accounting for 75% of prescription

revenue.

                2.      Paragraph IV Certifications

        38.     To obtain FDA approval of an ANDA,a generic m~nti~factueer must certify t11at the

generic drug addressed in its ANDA will not infringe any patents listed in the Orange Boo(<

        39.     Under the Hatch-Waxman Amendments, a generic manufactut~et•'s ANDA must

contain one of four certifications:

               a.      that no patent for the bt~and name drug has been filed with the FDA (a
                       "Paragraph I certification");

               b.      that the patent for the brand name drtag has expired (a "Paragraph II
                       certification");

               c.      that the patent for the bc•and name drug will expire on a particular date and
                       the generic company does not seek to market its generic product before that
                       date (a "Paragraph III certification"); or

               d.      that the patent for the brand name drug is invalid or will not be infringed by
                       the generic manufacturet~'s pl•oposed product(a "Paragraph IV
                       certification").

       40.     If a generic manufacturer files a Paragraph IV certification, a brand name

manufacturer has the ability to delay FDA approval of its ANDA simply by suing the ANDA

applicant for patent infringement. Ifthe brand name manufacturer initiates a patent infringement

action against the generic filer within forty-five days of receiving notification ofthe Paragraph IV

certification("Pat•agraph IV Litigation"), the FDA will not grant final approval to the ANDA until


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 the earlier oC(a) the passa~E of thirty months, oc(b) the iss~iance of a decision by a court that the

 patent is invalid or not infringed by the generic m~inli~Facturer's ANDA. Until one of these

 conditions occtus, the FDA nlay grant "tentative ~pprov~l," btiit cannot authorize the generic

 manufacturet~ to go to market with its pi•od~ict. The FDA may grant a~~ nNDA te►it~t~ive approval

 when it determines that the ANDA would othet•wise be reedy fo1• final approval but for the

 30-month stay.

        41.     As an incentive to spur generic companies to challenge weak and invalid patents,

the first genex•ic manufacturer to file an ANDA containing a Paragt•aph N cet~tification receives

 180 days ofmarketing exclusivity du►~ing which the FDA will not approve any other• ANDA. Fos•

Paragraph IV certifications made after December 2003, the 180 days of marketing exclusivity

may be forfeited under certain circumstances described below.

        42.     Brand name manufactut•ers can "game the system" by listing patents in the Orange

Book (even if such patents are not eligible For listing) and sLiing any generic competitor that files

an ANDA with a Paragraph IV certification (even if the competitor's product does not actually

infi~inge the listed patents) in order to delay final FDA approval of an ANDA.for up to thirty

months. Brand-name manufacturers often sue generics under• Hatch-Waxman simply to delay

generic competition -- as opposed to enforcing ~ valid patent that is actually infringed by the

generic. Historically, generic firms have prevailed in Paragraph IV Litigation, by obtaining a

judgment of invalidity or non-infringement or by the patent holder's voluntary dismissal, in 73%

of the cases studied.

       43.     The first generic applicant can help the brand manufacturer•"game the system" by

delaying not only its own market entry, but also the market entry of all other generic



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 manufacturers. By agreeing not to begin il~arketing its generic deug, the first generic applicant

 can delay the start of the 180-day period of generic ►n~rlcet exclusivity, a tactic called exclusivity

"parking." This tactic creates a "boCtlenecic," because later generic applica►1t~ cannot launch

 until the first generic applicant's 180-day exclusivity has elapsed o►~ is Poifeited.

                3.        Forfeiture Provisions under the MMA

        44.     On December 8, 2003, Congress enacted the Medicare Presceiption Drug,

Improvement, and Modernisation Act of 2003("MMA") in order• to make it more diffic~ilt for

brand and generic pharmaceutical companies to conspire to delay tl~e staet ofthe fi1•st-filer's

180-day period of generic market exclusivity. The MMA outlines a rnzmber of conditions Lindel•

which an ANDA applicant forfeits its eligibility for 180-day exclusivity, allowing subsegLient

ANDA filers to launch their products.

        A~S.    Undet~ the "failure to market" provision, a first ANDA applicant will forfeit its

180-day exclusivity if it fails to market its generic drug by the later of:(a) the earlier of the date

that is (i) 75 days after• receiving final FDA approval, or (ii) 30 months after the date it submitted

its ANDA; or (b)the date that is 75 days after the date as of which, as to each of the patents that

qualified the first applicant for exclusivity (i.e., as to each patent for which the first applicant

submitted a Paragraph IV certification), at least one of the following has occurred:(i) a final

decision of invalidity or non-infringement,(ii) a settlement order entering final judgment that

includes a finding that the patent is invalid or not infringed, or (iii) the NDA holder delists the

patent from the FDA Orange Book.

        46.     Brand name manufacturers and first-filing generics are able to structure their

settlements to intentionally avoid the failure-to-market provisions and keep the 180-day



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 exclusivity bottleneck in place. F'or example, C}ley may achieve suctl ~ result by settling their

 litigation before a final judgment ofinvalidity ocnon-infi~inge►1~ient can be entered with respect to

 each of the patents for ivhic~l the ~Frst ~pplic~int submitCed a PaK•ag~~~tph IV certi[~ication, or s~;el<ing

a consent judgment settling the litigation that does not include a finding that all oFthe patents foe

which the first applicant submitted ~ P~r~~i•~ph IV certification weee invalid or' not infringed. In

either case, in order to trigger a for•feitut•e arld gain access to the market, subsequent ANUn

applicants must obtain a judgment that all patents for which the first filing generic company sled

Paragraph IV cet•tifications are invalid or not infringed. This may require the subsequent f1NDA

applicant to initiate a declaratory judgment action over• patents that the brand company did not

assert against it in a Paragraph IV Litigation.

         B.      Authorized Generics, Nn-Authorized Generic Agreements, and Exclusive
                 Licenses

        47.      In an increasing numbed of cases, brand companies disguise an exclusion payment

to afirst-filing generic company by agreeing not to launch an "authorized generic" version of the

branded drug during the first-filing generic company's initial 180-day marketing exclusivity

period. An authorized generic is the branded drug, manufactured in exactly the same way as the

branded product, but sold as a generic product under the same approval as the brand product's

original NDA. Because the brand manufacturer already has approval to sell its branded drug, it

does not need to file an ANDA, or• obtain any additional approvals, to market a chemically

identical generic version of the drug.

        48.     For the brand company, an authorized generic launch during the 180-day period

provides a low cost, low risk means to preserve some of the monopoly revenue that would

otherwise be lost to the generic first-filer. For the generic manufacturer holding a 180-day



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eYClusivity period, however, ~r1 a~~tl~oriz~,d g~r~ecic l~iunch has a substantial it~~pact nn revenue.

Generic companies gene►~al(y make about 80% of their total incoi~ie on 1 given generic p~~odiict

during the 180-day exclusivity period, and ~n authorized generic, when la~ulched eluting the

180-day exclusivity period, capt~~res a stiibstanti~l portion oftotal generic sales during that period.

Freedom from an authorised generic during the initial 180-day period is thus exceedingly

valuable to the generic compa~ly holding that exclusivity -- it doubles the t•even~ies ~ncl profits of

that generic company.

        49.     A generic company holding a 180-day exclusivity period may tie willing to delay

its entry in return for a brand company's ageeement to forgo its own revenue stream and forbear•

from launching an authorized generic during the 180-day exclusivity pet~iod. In such a case, a

brand company sacrifices authorized generic product revenue and profits by making a

no-authorized generic agreement, but retains Fat• more in branded profits and sales by using the

no-authorized generic agz~eement to compensate the generic company to delay market entry. In

effect, the branded company compensates the generic company by ensuring higher post-entry

sales and profits (which are paid for by CVS and other purchasers of the generic).

        50.     No-autho►~ized generic agreements can take a variety of forms. Most commonly,

they are structured as an "exclusive license," in which the brand company licenses the first-filing

generic to sell a generic drug and agrees not to compete with the generic during the statutory

180-day exclusivity period. These are not genuine exclusive licenses because the brand

company retains the right to sell the bt~anded drug (i.e., it retains the right to sell the drug so long

as it does so at the higher, branded, price).




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        51.     In a i~epoi~t by the Fedet•~tf "I'racle Commission issued at the req~~est of Cortgress ire

2011 entitled Authorized Generic.Drugs: Shop°t-I'er~rn Tffects and Long-Teryrz Ir~r~~act, the F"[,C

concluded that no-autho►~ized generic agreements ca~~ provide signii~7cant value to a first-miler

generic company and have become a common form of ~~yment from brands to generics to induce

delayed generic entry. The FTC analyzed documents and cmpiric~l data covering more than 100

companies and found that the pt•esence of'authorizEd generic competition can 1•educe the first-filer

generic's revenues by more thatl 50 percent dui•in~ the 180-day exclusivity peeiod. Tl~e PTC

found that a generic company tnalces significantly less when competing with an authorized

generic because the aLrthoi~ized generic takes a significant share of genel•ic sales away from the

first-filer, and wholesale and retail prices decrease when the first-filer faces an authorized generic.

        52.    For afirst-filer generic, like R~nbaxy, of a $3 billion (or more) branded product

like Nexium, the diffet~ence between selling the only generic product and competing against an

authol•ized generic during the exclusivity period can amount to hundreds of millions if not billions

of dollars. These economic realities are well known in the pharmaceutical industry, and the

FTC's authorized generic report cites numerous documents from industry participants confirming

the financial impact of an authorized generic. No-authorized generic agreements like the one

between AstraZeneca and Ranbaxy thus allow competitors to benefit from an agreement not to

compete and deny purchasers the consumer surplus that should flow to them from increased

competition.




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         C.     Generic Ve►•sions of Brand-Na~nc llrugs are Significantly Less Expensive
                aid Take Significant Sales Directly from tl~e Correspo~~ding Brand-Name
                Versions

        53.     Typically, AB-r~ited geneeics are priced significantly below their br~ir~ded

counterparts. Because oaf the p~~ice differentials, and other irlstitution~tl ~feat~ices of the

pharmacetrtical industry, generic versions ai•e liberally and substantially substituted by

pharmacists presented with a prescription fog• the brand-name counterpart. Itl particular, generic

drugs that are bioequivalent to their brand name colinteipar•Cs are given an "AB" rating by the

FDA. In every state, pharmacists are pei~nlitted (and, in some states, required) to silbstitute a

generic product for the brand-name product prescribed, unless the doctor has indicated that the

prescription for the brand-name product must be "dispensed as written." Similarly, insurance

plans often require or incentivize such stzbstittrtion. As more generic m~nufacttzi~ers enter the

market, prices for generic versions of a drug predictably decrease even fil►-ther because of

coinpeti~tion among the generic manufacturers, and pharmacy stiibstitlition, and thus the loss of

sales volume by the bc~and-name drug to the corresponding generic, accelerates.

        54.     Generic competition enables all direct purchasers to:(a) purchase generic versions

of the drug at substantially lower prices; and/or(b) purchase the brand-name drug at a reduced

price. However, until a generic manufacturer enters the market, there is no bioequivalent generic

drug to substitute for and otherwise compete with the brand-name drug, and therefore the

brand-name manufacturer can continue to charge supracompetitive prices pz•ofitably without

losing all or a substantial portion of its brand-name sales.

        55.    Consequently, brand-name drug manufacturet•s have a strong incentive to use

various tactics, including exclusion payment agreements such as the Agreements alleged above

and below, to delay the introduction of generic competition into the market.


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                                        OPrRA'I'IVT~ PACTS

        A.       Defendar►ts' Unlawful Conduct

                1.      AstrnZeneca Files Ynragrapti IV Liti~atioi~ Against Ranbaxy,'I'eva
                        and Dr. l2eddy's iii a Scheme to Mono~~olize the Releval~t Market

        56.     NeYium is a prescription proton pump inllibitot~ (PPI) used to trelt hear•tb~~l•n and

related conditions. The active ing►•edient in Nexiuill is esomeprazole tnagnesi~im. Its

pharmacological profile, and thus its side effect and efficacy profile, is di~fere~~it fi•orn those of

other PPIs, H2 btockers and no~1-prescription antacids that ai•e used to treat the same o~• siinilli•

conditions. Those other drugs at•e not AB-rated to Nexium, cannot be automatically sl~bstituted

for Nexium by pharmacists, do not exhibit substantial cross-price elasticity of demand with

respect to Nexium, and thus ai•e not economic substitutes fo►•, nor reasonably interchangeable

with, Nexium.

        57.     On December• 3, 1999, AstraZeneca submitted NDA 21-153 seeking FDA

approval to market esomeprazole magnesium delayed-release capsules in 20 mg and 40 mg

stt•engths under the brand name Nexium for• the healing of erosive esophagitis, maintenance of

healing of et•osive esophagitis, and treatment of symptomatic gastroesophageal reflux disease.

The FDA approved Astr•aZeneca's NDA for Nexium on February 20, 2001.

       58.     In connection with its Nexium NDA,AstraZeneca listed fourteen patents in the

FDA Orange Book as covering Nexium or a method of using NeXium (the "Nexium patents");


               Patent                                  Ex i
        U.S. Patent No. 4,786,505               April 20, 2007
         "the `505 atent"
        U.S. Patent No. 4,853,230               April 20, 2007
         "the `230 atent"



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         U.S. Patent No. 4,738,974              Septei~nbet~ L, 2007
          "the `974 atent")
         U.S. Patent No. 5,877,1 ~2             May 27, 2U]4
          "the `192 atent"
         U.S. Patent No. 6,875,872              May 27, 2014
         ('`the `872 atent"
         U.S Patent No. 5,690,960               November 25, 20 l4
        ("the `960 atent"
         U.S. Patent No. 5,714,504              Febru2ry 3, 2015
        ("the `504 atent")
         U.S. Patent No. 5,900,424              Nlay 4, 20 L 6
          "the `424 atei~t"
         U.S. Patent No. 6,369,085              M1y 25, 2018
          "the `085 atent"
         U.S. Patent No. 7,411,070              May 25, 2018
        ("the `070 atent")
         U.S. Patent No. 6,147,103              October• 9, 2018
        ("the ` l 03 atent"
         U.S. Patent No. 6,191,148              October 9, 2018
          "the `148 atent"
         U.S. Patent No. 6,166,213              October 9, 2018
          "the `213 atent"
         U.S. Patent No. 6,428,810              November 3, 2019
        (`the `810 patent")



        59.       Although the Nexium patents purport to cover, among othet~ things, compounds

and pharmaceutical compositions comprised of magnesium salts of esomeprazole, and methods

of using those compounds and compositions, there existed a substantial risk that the patents would

be invalidated or' adjudicated non-infringed upon a challenge from generic manufacturers.

        60.       Among other reasons for this substantial risk, the Nexium patents are inherently

weak because the esomeprazole "invention" described in the various Nexium patents is prima

facie obvious in light ofthe prior art, including, but not limited to, AstraZeneca's predecessor PPI

drug, Prilosec.




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        61.     The active ingredient in Prilosec is on~eprazole. Oulepr~zole is a "racem~te,"

 which is a substance consisti~~g of'equ11 }earls oftwo different isomers ol'the same molecule.

The different isomers,(mown as "enantiomecs," are non-superimposable mirror images oaf one

another that are otherwise identical Human hands are com►nonly ~~sed to ilh~strate this principle.

A person's left hand and right hand are non-superimposable mirror imlges of each other. Fairs

of enantiomers share m1~1y chemical and physical properties, though ttley inay exhibit very

different biologic activity. Foi• example, it is commonly known that one enantiomer of a pail• will

be more biologically active than the other.

        62.     A 20 mg dose ofthe racemate omeprazo(e contains 10 mg ofthe left-handed or "S"

(for sinister•, the Latin word for "left-handed") enantiomer~ and 10 mg of the right-handed or "R"

enantiomer. Nexium, which contains esomept~azole, the S-enantiomer• of omepi•azole, is simply

Prilosec without the less active R-enantiomer.

        63.     Under well-settled patent law principles, a prima facie case of obviousness exists

when there is a structural similarity between the claimed compound and prior art compounds, and

the prior art gives reason or motivation to make the claimed compound. In the case of Nexium,

esomeprazole was clearly prima facie obvious in view of the admittedly prior art racemic

omeprazole. And, the evidence establishes that the claims of the Nexium enantiomer patents

were invalid as obvious.

       64.     AstraZeneca faced substantial risk that its Nexium patents would be invalidated

through patent litigation. In fact, the European Patent Office ruled, first in 2006 and then again

in 2011 that two European Nexium patents -- which are similar to U.S. Nexium patents -- were

invalid fot• failing to satisfy the "inventive step" requirement, which is analogous to obviousness



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under U.S. patent law. ~I'k~e rulings were m~lde in connection witf~ opposition proceedings

bt~olight by generic manufactueers, iricludirlg at least Gea~eric Defendant ~I'eva.

        65.     A Canadian Court likewise ruled in 2010 that a patent claitnin~ eson~eprazole

"having an optical ptiirity of99.8% oz' greeter" w1s invalid tor• leek of so~~nd ~~'ediction and

obviousness. The Court observed as a basis foe its ruling that as ofthe claim dlte of May 1993, it

was known that omeprazole could be separated into its S- and R- en~ntiome~•s, that they would be

desirable to use in the treatment of gastric illnesses, that they could be processed in salt form with

a magnesium salt, and that a ptu~ity of 95.6% (ee) for esomeprazole had been repoz•ted as having

been achieved in the prior• ai•t.

        66.     By listing the `974 patent, the `505 patent, and the `230 patent in the Orange Book,

all of which were first generation Prilosec patents, AstraZeneca took the formal position that these

three patents covered Nexium. By making these Orange Book submissions, Ast1•aZeneca

implicitly admitted that the ot•iginal omeprazole patents taught the enantiomer, one skilled in the

art would have the knowledge from the Prilosec patents to make the enantiomer, and it would be

desirable to make the enantiomer.

       67.      Because the Nexium patents are particularly susceptible to attack on validity

grounds, generic companies were eager to apply for FDA approval to market generic versions of

Nexium prior• to the expiration of the Nexium patents.

                2.        AstraZeneca Patent Litigation against Ranbaxy

       68.      On or about October 14, 2005, Generic Defendant Ranbaxy notified Astr•aLeneca

that it had filed ANDA No. 77-830, seeking to market generic vet~sions of Nexium containing 20

mg and 40 mg of esomeprazole magnesium in delayed-release capsules. Ranbaxy's notice letter
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 included a Paragt•aph IV certifcation Chat ttie commercial n~►an~rfactu►~e, use a~~d/o►' sale of its

 generic NeYium product would not infi•in~;e any valid claim of ally patent that expi►•ecl af~ei•

 October 2007 listed in the FDA Orauge Boolc as covering Ne~iutn or a method of using Nexium.

         69.     On November 21, 2005, AstcaZeneca filed suit against Ranbaxy in the United

States District Court for the Distt•ict of New Jersey pL~rsuarit to Hatch-Warman (t~~e "Ranbaxy

Litigation"), alleging that Ranbaxy's ge►leric Nexiu►n product would infringe six patents, Fve of

which were listed in the Orange Boolc the `504 patent; the `192 patent; the `872 patent; the `810

patent; the `085 patent; and U.S. Patent No. 5,948,789("the `789 patent").

         70.    The `789 patent, as a process patent, could not be listed in the Orange Book.

Because AstraZeneca did not list the `789 patent in the Orange Book, it was never' included in any

generic manufacturers' Paragraph IV certification, including RanbaXy's, and AstraZeneca could

not obtain the Hatch-Waxman 30-month stay by bringing an infringement claim on this patent

alone.

         71.    Each of the patents was weak and likely to be adjudicated invalid, unenforceable

or non-infringed during the Ranbaxy Litigation.

                3.      The Asserted Nexium Patents were Likely to be Ruled Invalid,
                        Unenforceable, or Not Infringed

         72.    Recall that omepi•azole is a racemic mixture oftwo optically active molecules, the

S-enantiomer and the R-enantiomer. The `504 patent claims a pharmaceutical formulation

comprised of solid state alkaline salts of the S-enantiomer, which is also referred to as

(-)-omeprazole or esomeprazole. Importantly, not only is racemic omeprazole prior art to the

`504 patent, but so are the S-enantiomer and the R-enantiomer. Indeed, the `504 patent itself

concedes that these two enantiomers were Known and separated no later than 1990 in the Journal


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 ofChromatography 532(1990) at 305-19. Not surprisingly, in reviewir~~; Che patent application

 that woLild issue as the `504 patent, the ex~mi►lec ~t the U.S. I'~te11t and Trade«~arlc Office

("PTO")concluded that the salts of the individual en~ntioluers were invalid its "obvious variants

[sic] over the corresponding racemate because of their p~•esence in the ►~leemate."

        73.     To overcome this objection, flstraZeneca represented to the F'I,O that "tf~~e(-)

 omeprazole enantiomei•, as administet•ed in the form of its alkaline salts, unexpectedly exhibits a

 diffet~ent and more advantageous phai~inacokinetie profile than the racernic mixtl~~~e or the

(+)-enantiomer of omeprazole," citing a declamation of one of its scientists that it submitted in

support of this argument. Unable to challenge the accuracy of these representations, the PTO

allowed the `504 patent. Specifically, the PTO relied on AstraZeneca's claim that "the present

application and the Anderson declaration prove" that salts of the S-enantiomei• demonstrate

surprising activity.

        74.     The FDA,unlike the PTO, had the resources to challenge Astr•aZeneca's scientific

assertions. The FDA later reviewed AstraZeneca's data from its clinical studies and concluded

the S-enantiolner not only fails to exhibit surprising activity relative to the racemate, but also fails

to achieve any statistically significant improvement over the racemate. Reviewing

AstraZeneca's data, the FDA concluded: "Since the difference between the esomeprazole 20

mg/cad and the omeprazole 20 mg/qd observed in study 172 was not reproduced in study 174, the

observed differences in healing rates and symptom relieffor esomeprazole 40 mg and omeprazole

20 mg may reflect differences in dose rather than metabolic or phar•macologic differences. No

clinical comparisons of40 mg of esomeprazole with 40 mg of omeprazole were performed to

quantify the effect of metabolic differences of this dose."



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         75.    The FDA's conclusio~~ is consistent with tl~e findings c~~f other ~•esearchers, who

 concluded that there was no significant difference in tk~e lctivity oFthe single enar~Yiotne~~s of

 omeprazole as compared to etch other ~l►1d the raceanate. See ~►•lanclsson, P., et al., ResoluCior~ of

the Enantiomers of Omeprazole and Some of its Analogues by Liquid Chromotology on a

Triphenylcarbomoylcellulose-based Stltionaty Phase: Tl~c Effect of the En~iltiomecs of

Omeprazole on Gastt•ic Glands. J, Chromad~ogr. 532(1990) 1t 305-19("Erlatldsson"); see also

Cairns et al., J. of Chro~rac~togr. 666 (1995) at 323-28, ciise~issing (-~-)-omeprazole end

(-)-omeprazole. In fact, AstraZeneca itself admitted "Erlandsson teaches that the omeprazole

racemate is equal in potency to the (-)-enantiomer."

        76.     Because the S-enantiomer of omeprazole fails to demonstrate sufficiently

surprising results, the claims of the `504 patent are obvious in view ofthe prior art, including

various patents directed to the omeprazole racemate.

        77.     In addition, German patent application DE 4,035,455 renders the `504 patent

invalid under §§ 102 and/or' 103. This application disclosed a method for producing "optically

put•e compounds from diastereomers" of a class of compounds which included otneprazole and

described their use as active ingt~edients to treat gastric problems.

        78.     The claims of the `192 and the `872 patents share the same substantial weaknesses

as the `504 patent, and for the same reasons. Both patents are so closely related to the `504 patent

that the PTO rejected the claims ofthe former• patents as merely obvious variants ofthe latter. To

overcome this rejection, AstraZeneca filed a terminal disclaimer, conceding the similarity of the

claims and disclaiming any patent term for the `192 and the `872 patents that would extend

beyond the patent term ofthe `504 patent.



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        79.     The `l92 latent and the `872 patent were also lilc~ly to be inv~licl under 35 U.S.C.

§§ 102 and/or 103 in view of, inter calia, WO 94/27988 (F~xample l0), whictl Ast~ra7eneca itself

admitted discloses "[n]ovel salts o['the single en~ntiomers of omeprazole." See, e.g., U,S. P~tcnt

No. 5,817, 338, Col. 1, Lines 23-23.

        80.     The `085 patent and `810 patent were highly specific a►1d nareow formulation

patents that, on that basis alone, likely never would have teen infi•i►Igeci. Further, they were

likely to be adjudicated invalid or unenfo~~ceable in view of AstraZeneca's disclosut~es of the

hydrates in the `960 patent and the `424 patent.

        81.     In addition, Ranbaxy maintained, even in settlement of AstraZeneca's litigation

against it, that the `085 patent and the `810 patent would clever be infringed by its prod~ict.

        82.     The `789 patent provided little protection against would-be generic entrants.

Numerous prior references -- both for omeprazole products and for esomeprazole itself -- taught

processes by which to isolate the omeprazole enantiomei~s. At most, the `789 patent ostensibly

teaches only one particular' asymmetric process to create an isolated omeprazole enantiomer, and

that particular process still had a yield of less than 50%. (An asymmetric process means going

right to making the isolated enantiomer without first making the racemic compound.) And othet~

claims in the `789 patents were simply for other structurally-related sulphoxide compounds that

provide no utility to support the claimed inventions.

        83.    In short, the `789 patent was likely to either be declat•ed invalid or unenforceable,

or non-infringed by Ranbaxy.

        84.    AstraZeneca never• brought litigation against Ranbaxy on the other nine Nexium

Patents it had listed in the Orange Book: the `974 patent, the `505 patent, the `230 patent, the `960



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patent, the `~24 patent, t}~e `103 p~lCent, the `213 patetlt, the `148 patent and Che `070 patenC.

Thus, these nine patents would not have bar►•ed Ranb~ixy's envy into the ►narket in 2008.

        85.    There was a s~ibstantial chance that ~straLeneca would fail on the infi•ingen~ent

claims that it asserted against Ranb~xy. Absent the u►il1wl'ul agreement, it is ~ullilcely that tl~e

Nexium patents would have barred Ranbaxy's entry into the market in 2008.

               4.       Astr~Zeneca Patent Litigatioi► against Teva

        86.    On or about January 26, 2006, Generic Defendant Teva notified AstraZeneca that

it had filed ANDA No. 78-003, seeking to nlarlcet geilei•ic ve~~sions of NeYium containing 20 n1g

and 40 mg of esomept•azole magnesium in delayed-release capsules. Teva's notice letter•

included a Paragraph IV certification that the comtnei•cial manufacture, use, and/or sale of its

generic product would not infringe any valid claim of any patent listed in the FDA Orange Boolc

as covering Nexium or a method of using Nexium.

        87.    On March 8, 2006, AstraZeneca filed suit against Teva in the United States

District Court for the District of New Jersey pursuant to Hatch-Waxman, alleging that Teva's

generic Nexium product would inf~•inge five ofthe patents listed in the Orange Book for Nexiunl:

the `504, `192, `872, `810, and `085 patents (the "Teva Litigation"). Subsequently, AstraZeneca

amended its complaint by dropping its allegation that Teva infringed the `810 patent and adding

an allegation that Teva infringed the `789 patent and the `070 patent.

       88.     For reasons previously stated, the `504, `872, `085, `192 and `789 patents were

weak and likely to be to be adjudicated invalid, unenforceable or non-infringed during the Teva

Litigation.
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            89.     The `070 patent -- a continu~ltion oftl~e `(~85 patent -- was so closely related Co t{1e

    `085 patent that the PTO initially rejected the `070 patent on the basis of obvio~isness and

    statutory double patenting (35 U.S.C. § 101) because ce;k•tain claims of the `070 patent were

    identical to claims in the `085 patent. The `070 p~itEnt was also s~~bject to the same weal<ilesses

    and basis for invalidity ot• non-itlfrin~ement as the `085 patent.

            90.    AstraZelleca never brought litigation against Teva on the othe►~ eight Nexiiim

    patents it had listed in the Orange Book: the `974 patent, the `505 patent, t11e `230 patent, the

    `960 patent, the `424 patent, the `103 patent, the `213 patent, and the `148 patent. Thus, these

    eight patents were not a bar' to 'Teva's entering the market by 2009.

            91.    There was a substantial chance that AstraZeneca would fail on the infringement

    claims that it asserted against Teva. Absent the unlawful agreement, it is unlikely that the

    Nexium patents would have bac•red Teva's early entry into the market.

                   5.       AstraZeneca Patent Litigation against Dr. Reddy's

            92.    On August 17, 2006, Generic Defendant Dr. Reddy's notified AstraZeneca that it

    had filed ANDA No. 78-279, seeking to mat•1<et generic versions ofNexium containing 20 mg and

    40 mg of esomeprazole magnesium in delayed-release capsules. Dr. Reddy's notice letter

    included a Paragraph IV certification that the commercial manufacture, use, and/or sale of its

    generic product would not infringe any valid claim of seven ofthe fourteen Orange Book-listed

    patents, including the `085 and `810 patents. On December 4, 2007, Dr. Reddy's amended its

    ANDA to assert that its proposed generic Nexium product would not infringe the `504, `192 or

    `872 patents, or that those patents were invalid.




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        93.     On Janl«ry 17, 2008, AsteaZene;ca filed suit against Dr. Reddy's in the United

 States District Court for the District of New Jersey p~usuant to ~~Iatch-Waxmlr~, alleging that Dr.

Reddy's generic Nexium product would inf~•in~e three of the patents listed in the Oe~nge Boole ~~or

Nexium: the `504, `872, and `085 p1te~~lts (the "Dr. Reddy's Litigation"). In reply to Dr. Reddy's

answer, AstraZeneca also asserted that Dr. Redciy's proposed generic Nexiu~n product would

infringe t11e `192 patent.

        94.     Subsequently, AstraZeneca dropped its claim ofinfringement against Dr. Reddy's

fo7• the `085 patent and entered into a Consent Agreement stating that Dr•. Reddy's "ANDA

Products do not in$~inge any claim ofthe `085 patent and accordingly judgment is entered in favor°

of[Dr. Reddy's~ on Astr•a's Thit~d Claim Poi• Relief."

        95.     On May 19, 2008, Dr. Reddy's filed a complaint for a declaratory judgment

against AstraZeneca in the United States District Court foY• the District of New Jersey seeking a

declaratoty judgment that its "commercial manufacture, use, offer for sale, sale or importation of

its genel•ic equivalent of Nexium or the active ingredient thet•eof would not infringe" the `960

patent, the `424 patent, the `103 patent, the `213 patent, the `148 patent, or the `810 patent --

patents for• which AstraZeneca did not assert infringement against Dr. Reddy's within the 45 days

following Dr. Reddy's notice ofParagraph IV certification. In its Answer, AstraZeneca

admitted that Dr. Reddy's proposed esomepr•azole magnesium delayed release capsule products

"do not infringe the ` 148 patent" and "do not infringe the '810 patent."

       96.     The `504, `872, and `192 patents were weals and likely to be adjudicated invalid,

unenforceable, or non-infringed.




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        97.     AstraZeneca never brought suit againsC Dr. Reddy's o~1 ten NEYium .Patents that it

had listed in the Orange Book: tl~e `974 latent, the `505 patent, the `230 patent, Che `960 patent,

the `424 patent, the `103 patent, the `213 patent, the `1~8 patent, the `810 patent, and the `070

patent. Thus, these ten patents were not a bar to Dr. Reddy's entry into the market.

        98.    There was a substantial chance that AstraZeneca would fail on the infi•ingemen~t

claims that it asserted against Dr. Reddy's. Absent the unlawful agreement, it is unlikely that the

Nexium patents would have bar~~ed Dr. Reddy's early entry into the market.

               6.      Asti•aZeneca Avoided Likely Patent Litigation Losses by Buying Off
                       its Competition

        99.    AstraZeneca's actions against the Generic Defendants were consolidated, and the

Gene1•ic Defendants conducted discovery focusing on:(1)the enforceability of the Nexium

patents;(2)the validity of the Nexium patents' claims; and (3) the strength of AstraZeneca's

infringement allegations. AstraZeneca and the Generic Defendants entered into the Exchision

Payment Agreements before any dispositive motions relating to the Generic Defendants'

substantive challenges to the patents were decided.

        100.   To prevent genetic entry using just its patents (rather than pay-offs), AstraZeneca

would have had to show that each ofthe generic Nexium products infringed its patents and

defeat each ofthe Generic Defendants' invalidity arguments. Instead, AstraZeneca decided to

protect its monopoly by paying all of the Generic Defendants to withdraw their challenges to the

validity and enforceability of its patents and delay their introduction of generic Nexium.

       101.    As described below, these settlement agreements constituted not only an

agreement to delay generic entry between AstraZeneca and each individual Generic Defendant

but also an agreement not to compete between and among the Generic Defendants as brokered by


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AstraZeneca. Each ofthe agi•eemcnts contained the s~m~ agreed upon delayed etltry date as wel(

as a provision enabling a settling Genetic De~Fendant to enter earlier if one of its generic

competitors continued to litigate and established that the Nexi~~m patents were invalid oi~ not

infringed.

                7.        AstraZenec~t end R~nbaxy Enter• are Exclusion Payment Agreement

        102.    On or about ~1pri1 ~14, 2008, shortly ~ftar discovery ended ai7d before the courk

could issue any substantive rulings, AstraZeneca and Railbaxy entered into the

AstraZenecalRanbaxy Exclusion Payment Agreement. PL►r•suai~t to that Agreement,

Asri~aZeneca ended its litigation against first-filer Ranbaxy, and a consentjudgment was entered

on the exact same day that the 30-month stay of FDA approval of Ranbaxy's generic Nexium

product expired.

        103.    Under the EXClusion Payment Agreement, Ranbaxy agreed to (a) admit that the

`504, `192, `789, `085, `810, and `872 patents were enforceable and valid;(b) admit thlt its

generic Nexium products would infringe the `504, `192, `789, and `872 patents (but not the `810

or• `085 patents); and (c) delay launching its generic Nexium product until May 27, 2014 unless

otherwise specifically authorized by the Agreement(which included earlier entry by another

generic).

        104.    As the quid pro quo for Ranbaxy's agreement to drop its challenge to the Nexium

patents listed above and to delay entry of its genetic Nexium product until May 27, 2014,

AstraZeneca agreed, pursuant to the Agreement, to provide Ranbaxy with consideration worth

over a billion dollars.




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        105.    Shot•tly aftcc the settlement, Ranbaxy's Chief Executive Of~cee, Malvinder Singh,

boasted that the AgreeiT~ent would give R~nf~axy as tn~~ch pis $I.S billion in revenue between Che

date of the Agreement and the end of its 180-day in~rketing exclusivity in 2014. Singh

characterized the Agreement as "the biggest and most comprehensive settlement to date by a~iy

geneeic company globally." Upotl information and belief, under• their Agreement, flsti•aZeneca

has already provided compensation to Ranbaxy worth zllillions of dollars.

        106.    Although AstraZeneca's consideration to Ranbaxy undet~ the Agreement is

characterized as compe~lsation for Ranbaxy's performance of manufacturing and distribution

set~vices for Asti•aZeneca, those characterizations ai•e pr•etextual. In particular, AstraZeneca

licensed Ranbaxy to market generic delayed-release esomeprazole magnesium during Ranbaxy's

first-filer 180-day period of generic market exclusivity and agreed not to sell an authorized

generic in competition with Ranbaxy -- i.e., it agreed to a no-authorized generic agreement. This

agreement constituted a payment of substantial consideration from AstraZeneca to Ranbaxy,

nearly one billion dollars. In a press statement issued at the time the Exclusion Payment

Agreement was publicly disclosed, Ranbaxy stated that the bulk of the revenues from the

Exclusion Payment Agreement would accrue in 2014, when Ranbaxy would be able to launch a

generic version of Nexium in the United States with a 180-day exclusivity period.

        107.    This and other payments from AstraZeneca to Ranbaxy were for Ranbaxy's

agreement to delay generic Nexium for over 6 years. Absent Ranbaxy's agreement to delay

generic Nexium, AstraZeneca would not have made the no-authorized generic agreement, agreed

to designate Ranbaxy as a supplier of Nexium and Nexium API, made Ranbaxy the authorized

generic distributor for• Plendil ot~ Prilosec, and/or agreed to the price and/or terms that it did under




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those provisions ofthe Agreemc►~t. AstraZeneca paid FZanbaxy fox• delayed market entey of

generic Nexium.

                8.      AstraZeneca Delays Legitimate Effects to "Uncork" the Bottleuecic

        108.   On April 30, 2008, shortly after AstraZenec~ Ind Ranbaxy entered their

Agt•eeinent, Generic Defendant Teva filed a declaY~atory jl►dgmeilt lction against AstraLeneca

seeking a ruling of invalidity and non-infringement r•egardit~g the remaining Orange Book-listed

patents that AstraZeneca did not assert against Teva in connection with its generic Nexiu~n

ANDA. Teva filed its declat~atory judgulent action to obtain a favorable judgment regarding all

Orange Book-listed Nexium patents and thus uncork the FDA approval bottleneck caused by

AstraZeneca's settlement with first-filer Ranbaxy, which (absent a foz•feitut~e event) enstn'ed that

Ranbaxy's 180-day marketing exclusivity would not be trigget•ed until May 27, 2014. Dr.

Reddy's followed in May 2008 with its own declaratory judgment action seeking a ruling of

non-infi°ingement with 1•espect to the unasset~ted Orange Book-listed patents.

        109.   In response to AstraZeneca's n7otion to dismiss its declaratory judgment action for

lack ofjurisdiction, Teva accused AstraZeneca of gaming the system "to take advantage of what

[Teva] contends is an invalid and illegitimate patent monopoly." According to Teva, as a result

ofthe exclusion payment agreement between AstraZeneca and Ranbaxy, if it could not "challenge

the patents in suit, the patents will represent asix-year barrier to anyone entering the market,

regardless of whether they a►~e valid ox would be infringed. In those circumstances,[Teva] would

be precluded from marketing its product and the public would not have access to lower-priced

esomeprazole even thoz~gh no legitimate patent rights protect defendants' monopoly."




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        ll0.       The court denied in subst~nti~l pert AstraZeneca's notion to disr~z~iss the

declaratory actions, but granted Astr~Zenec~t's motion to stay tl~e declaratory actions ~~ending

resohition of the main itlfi•ingenlent action. While the court permitted the decllratory lctions to

proceed on reconsidet~ation, Astt~aZeneca succeeded in clelayin~ by approximately six mont~is

Teva's and Dr. Reddy's efforts to obtain a court jud~nlent that could allow them to enter the

market ahead of May 27, 2014.

                   9.       AstraZe~iec~ and Teva Enter an Exclusion Payme~it Agreement

        l l :l .   Eventually AstraZeneca was able to buy off Teva's patent challenges.

       112.        Although claim constz•uction was briefed during the summer of2009, AstraZeneca

and Teva, pursuant to that Agreement, repeatedly asked the court to postpone construing the

contested claims of the Nexiutn patents. As a result, as of January 7, 20 L 0, the court had issued

no substantive rulings. On or about that date, AstraZeneca and Teva entered into the

AstraZeneca/Teva Exclusion Payment Agreement, which ended the litigation between

AstraZeneca and Teva.

       113.        Undet~ the EXClusion Payment Agreement, Teva agreed to:(a) admit that all

patents then listed in the Orange Book as covering Nexium were "all enforceable and valid with

respect to certain products;"(b) admit that its generic Nexium product would infringe the `504,

` 192, `789, `085, `872 and `070 patents; and (c) delay launching its generic Nexium until May 27,

2014 tmless otherwise specifically authorized by the Agreement(which included earlier entry by

another generic).

       114.        As the gzrid pro quo for Teva's agreement to drop its challenge to the Nexium

patents and to delay entry of its generic Nexium products until May 27, 2014, pursuant to the



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AstraZeneca/Teva Exclusion Payr~~ent Agreement, ~lstraL~;neca agreed Co cornpens~t~e `I'ev~ by

forgiving a contingent patent infi•ingenzent liability to AstcaZeneca that Teva faced as ~l ~~esult of

its "at risk" launch oI'generic Prilosec.

        115.    Teva's contingent liability wit11 respect to Pcilosec was enorn~ol~s. On Septembet~

9, 2004, Teva had commenced an "1t ~~islc" launch of generic Prilos~c, which was tnan~if'~ctuced

by its marketing pat~tner, Impax. In 2008, the Federal Ci~'cuit affcmed the disteict co~~rt's ruling

that the Prilosec patents were valid and infringed by ImpaY's generic Prilosec product. Becluse

Teva Ind Impax shared the risk with respect to any damages associated with the sale of the

generic Prilosec product, Teva faced the potential of owing massive infringement damages to

AstraZeneca resulting from years of infringing generic Prilosec sales. As part of their Exclusion

Payment Agreement, Teva and AstraZeneca agreed that Teva would pay only anon-financially

material part of the total potential damages from generic Prilosec. By forgiving virtually all of

Teva's contingent liability to AstraZeneca with respect to a diffet•ent drug, Ast~•a7eneca paid

Teva.

        116.    The true purpose and effect of the payment to Teva was to delay generic Nexium

until May 27, 2014. Absent Teva's agreement to delay generic Nexium, AstraZeneca would not

have forgiven Teva substantially all of the contingent liability on Prilosec and/or would not have

done so on the terms that it did. Astt~aZeneca paid Teva for delayed market entry of generic

Nexium.

                10.    AstraZeneca and Dr. Reddy's Enter an Exclusion Payment
                       Agreement

        1 I7.   On or about January 28,201 1, before the court could issue any diapositive decision

regarding the validity or infringement of the NexiLim patents, Asti•aZeneca and Dr'. Reddy's


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entered the AstraZeneca/Dr. Reddy's Exclusion Payr~~ent agreement, which ended the Iitig~Cion

between AstraZeneca aucl .Dr. Reddy's and delayecl entry of Dr. Reddy's generic Nexium

products until May 27, 2014, unless specifically authorized by tl~e Ag~ree~nent(which included

earlier entt•y by another generic). Dr. Reddy's made no admissions regarding validity oc

infringement.

        118.    As the quidpro faro for D~°. Reddy's agreement to drop its challenge to the Nexium

patents and to stay out of the Nexium market until May 27, 2014, AstraZeneca agreed to

compensate Dr. Reddy's by fot•giving a contingent patent infi~ingeinent liability to AstraZeneca

ghat Dr. Reddy's faced as a result of its "at risk" launch of generic Accolate.

        119.    Dr. Reddy's contingent liability with respect to Accolate was substantial. Di•.

Reddy's launched its generic version of AstraZeneca's Accolate product "at risk" in November• of

2010, following the entry of a summary judgment opinion in Dt•. Reddy's favor. At the dine of

Dr'. Reddy's launch, however, that opinion was on appeal. Astz•aZeneca agreed, as part of and

simultaneously with the Exclusion Payment Agreement, to compensate Dr'. Reddy's by dropping

that appeal, thereby removing the risk that Dr. Reddy's would have to pay substantial damages

with respect to its generic Accolate sales.

        120.    The true pul•pose and effect of the payment to Dr. Reddy's was to delay generic

Nexium until May 27, 2014. Absent Dr. Reddy's agreement to delay generic Nexium,

AstraZeneca would not have forgiven the contingent liability against Dr. Reddy's and/or would

not have done so on the terms that it did. AstraZeneca paid Dr. Reddy's for delayed market entry

of generic Nexium.




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        121.    By paying "T'eva and Dr. Reddy's not to market ChEir genetic Nexium ~~t~odticts

before May 27, 2014, and by doing so befot•e the co~irt could rule on the validity or infringement

of the NeYiutn patents, Asti•aLenec~ ensured that the second and third ~NDA-filers could riot

dislodge the FDA approval bottleliecic created by its Agreement with fit•st-filer Ranbaxy.

        B.       Anticompetitive Purpose and F,ffect of the Agreements

        122.    The Agreements have enabled E1sh~aZeneca and the Generic Defendants to: (a)

delay the entry ofless expensive generic versions ofNeYium products in the United States;(b)fix,

raise, maintain, or stabilize the price ofNexil~m products;(c) pt~eserve AstraZeneca's monopoly

in the U.S. market for Nexium pt•oducts;(d) allocate 100% ofthe U.S. market for delayed-release

esomeprazole magnesium to AstraZeneca; and (e) allocate 100% of United States generic

Nelium sales to Ranbaxy during the first 180 days of generic sales.

        123.   But for the Agreements: (i) Ranbaxy (and/or• another ANDA filer) would have

received final marketing approval from the FDA in November 2008, Ranbaxy and/or another

ANDA filer would have begun selling AB-rated versions of Nexium by December 1, 2008, and

AstraZeneca would have simultaneously launched an authorized generic version of Nexium; and

(ii) an increasingly competitive market for• delayed-release esomeprazole magnesium would have

thereafter• emerged as additional generic manufacturers entered the market.

        124.   Defendants' unlawful concerted action has delayed or prevented the sale of

generic Nexium in the United States, and unlawfully enabled Asti•aZeneca to sell Nexium at

artificially inflated, supi•acompetitive prices. But for Defendants' illegal conduct, generic

competition to Nexium would already have occurred. One or more ofthe Generic Defendants




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would have already entered with its getleeic ve1•sion of Ne~cium, and AstraZeneca would gave

simultaneously entered with an authorized generic version of Nexiu~n.

                                  INT~RSTATr COMMtiRCI~

        125.   Defendants' effoY~ts to monopolize and restrain competition in the market for

delayed-release esomepeazole have occurred in and have sti~bst~nti~lly affected interstate

commerce.

        126.   At all material times, AstraZeneca manufactured, promoted, dish•ibuted, and sold

substantial amounts of branded Nexiuin in 1 continuol~s and uninterrupted flow of commerce

across state and national lines and throughout the United States.

                        MONOPOLY POWER AND MARKET DEI'INITION

        127.   At all relevant times, AstraZeneca had monopoly power' with respect to

delayed-release esomeprazole magnesium because it had the power to maintain the price of the

drug it sold as Nexium at supracompetitive levels without losing substantial sales to other

products.

        128.   A small but significant, non-transitory price increase for Nexiunl by AstraZeneca

would not have caused a significant loss of sales.

        129.   Nexium does not exhibit significant, positive cross-elasticity of demand with

respect to price with any product currently for sale.

        130.   Because of, among other reasons, its use and varying ability to heal el•osive

esophagitis, maintain the healing of erosive esophagitis, and treat symptomatic gastroesophageal

reflux disease, Nexium is differentiated from all products currently For sale.




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        131.    Ast~•aZeneca needed to control only Nexi~im and ~~revent the entry oaf its AE3-rated

generic equivalents, to maintain tihe price oFNeYiu~n pra~tably at supracompetitive prices. Only

the market entry of a competing, AB-rated generic version of Nexium would i•endei~ AstraZerleea

unable to pt~ofitably maintain its current ~cices of Nexitim witho~rt losing slii~stantill sales.

        132.    Astra7eneca sold Nexium at pt•ices we1L in eYCess of marginal costs, and

substantially in excess of the competitive price, anti enjoyed high profit nlat~girls.

        133.   Defendants have had, and exercised, the power to exclude and restrict competition

to NeXilim and its AB-rated bioequivalents.

        134.   To the extent that CVS is legally 1•equired to prove monopoly power through

circumstantial evidence by first defining a t~elevant product market, CVS alleges that the relevant

market is delayed-release esomeprazole magnesium (i.e., Nexium and its AB-rated generic

equivalents). During the period relevant to this case, AstraZeneca has been able to profitably

maintain the price ofdelayed-release esomeprazole magnesium well above competitive levels.

       135.    AstraZeneca, at all relevant times, enjoyed high barriers to entry with respect to

competition in the above-defined relevant product market due to patent and other regulatory

protections and high costs of entry and expansion.

       136.    The relevant geographic market is the United States and its territories.

       137.    At all relevant times, AstraZeneca's market share in the relevant market was and

remains 100%.
                                       MARKET AFFECTS

       138.    Ranbaxy's ANDA was in approvable condition as of February 5, 2008, when it

received tentative approval. The FDA issues tentative approval only when it determines that an




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ANDA would otherwise be reedy for final approval but foe a 30-month stay. Were it not for t}ie

AstraZeneca/Ranbaxy Agreement, Ranbaxy would have received f7nal FDA approval is

November, 2008, after the expiration of tine 30-month stay of F'DA approval. Generic Nexium

pt~oducts would hive entered the m~rl<et shortly the~•eaftet•.

        139.   The FDA has not given Ranbaxy's Nexiuil~ ANDA find approval solely because

the FDA knows that the AstraZeneca/Ranbaxy Exclusion Payment Agreei11ei1t peevents Ranb~xy

from selling generic Nexium until May 27, 2014. By practice, the FDA organizes its priorities

around "rate limiters," and the AstraZeneca/Ranbaxy Agreement is a rate limiter that has caused

the FDA to wait to issLie formal, written approval to Raubaxy's ANDA. Defendants' Exclusion

Payment Agreements had the purpose and effect of i•estr~ining competition unreasonably and

injuring competition by protecting Nexium from generic competition. Defendants' actions

allowed AstraZeneca to maintain a monopoly and to exclude competition in the market for

delayed-release esomeprazole magnesium, to the detriment of CVS and other• purchasers of the

drug.

        140.   Defendants' Exclusion Payment Agreements have delayed generic competition

and unlawfully enabled AstraZeneca to sell Nexium without generic competition. But for

Defendants' illegal conduct, one or more generic competitors would have begun marketing

AB-rated generic versions of Nexium by December 1, 2008, and AstraZeneca would have

simultaneously launched an authorized generic version of Nexium.

        141.   The generic manufactures seeking to sell generic Nexium had extensive

experience in the pharmaceutical industry, including experience obtaining approval for ANDAs,

marketing generic pharmaceutical products, manufacturing commercial launch quantities
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adequate to meet market demand, and, wheee appropriate, haying and receiving consideration f'or

selective waiver and/or t~elinc~laishment of 180-clay #~irst-to-file marl<eCing e~clusivities.

        142.    Defendants':Exclusion P~ynlcnt Agi•eemEnts, which delayed the introduction off'

generic Nexium in the United States, have caused CVS to pay more than it woi.ild have paid for

delayed-release esomepraaole magnesium absent Defendants' illegal conduct.

        143.    But for the Exclusion Payinei~t Agreements, CVS would have paid less foe

delayed-release esomeprazole magnesium by (a) substituting purchases of less-expensive generic

Nexium for its purchases ofmore-expensive branded Nexium, and/or (b) receiving discounts on

its remaining branded Nexium put~chases.

        144.    Moreover, due to Defendants' exclusion Plyment Agt~eements, other generic

manufacturers were discouraged from and/or delayed in (1) developing genetic versions of

Ne~itun, and/or (b) challenging the validity or infringement of the Nexilim patents in court.

       145.    Thus, Defendants' unlawfill conduct and overarching scheme deprived CVS ofthe

benefits of competition that the antitrust laws were designed to ensure.

       146.    During the relevant period, CVS or its assignors purchased substantial amounts of

Nexium directly from Astr~aZeneca. As a result of Defendants' illegal Exclusion Payment

Agreements as alleged herein, CVS was compelled to pay, and did pay, artificially inflated prices

for their delayed-release esomeprazole magnesium requirements. This injury is of the type the

antitrust laws were designed to prevent and flows from that which makes Defendants' acts

unlawful.




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         147.    As a conseq~~erice ofDefendants' unlawful cond~~ct ai~lcl oveca~'ching se}1e111e, CVS

 has sustained substantial losses and damage to its business grid ~ro~erCy in tl~ie form oP

overcharges, the exact amount of which will be the subject of goof at trial.

         148.    DefendanCs' unlawful co~ldt~ct th►•e~tet~s co~ltinuin~; loss and ciam~ge to CVS

unless enjoined by this Court.

         149.    The limitations period applicable to CVS' claims was tolled by the fili~lg o~fthe

first direct purchaser class action on behalf of a class of purchasers that includes CVS or' its

assignors. See Eisen v. Carlisle &Jacquelin, 417 U.S. 156, 176 n. 13 (1974)("commencement

of a class action tolls the applicable stattrte of limitations as to all members o~f the class")

                                      CLAIMS FOR RELIEF

                            CLAIM I: VIOLATION OF 15 U.S.C. § 2
                                (Conspiracy to Monopolize)

                               (Against AstraZeneca and Ranbaxy)

        150.    CVS hereby incorporates each preceding and succeeding paragraph as though

frilly set forth herein.

        151.    At all relevant times, AstraZeneca possessed substantial market power (i.e.,

monopoly power) in the relevant market. AstraZeneca possessed the power to control prices in,

prevent prices from falling in, and exclude competitors from the relevant market.

        152.    Through the overarching anticompetitive scheme, including the Exclusion

Payment Agreement with Ranb~xy, Astc•aZeneca and Ranbaxy conspired to maintain

AstraZeneca's monopoly power in the relevant market in order to block and delay market entry of

delayed-release esomeprazole magnesium, i.e., AB-rated generic versions of Nexium. The

unlawful Exclusion Payment Agreement between AstraZeneca and Ranbaxy (a) allocated 100%



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 of the market for delay~;d-release esomepr•~zole magnesium in the United States prior to May 27,

 2014 to AstraZeneca;(b) prevented the sale of generic versions of Nexium in the United Stares,

thet~eby protecting Nexium froth any generic competition for 6 years or snore;(c) fixed the price

 direct purchasers wo~~ld pay for delayed-eelease esorlleprazole ►nagriesium at stipr~cotnpetitive

levels; and (d) allocated 100% of United States generic Nexium sales to Ranbaxy during the first

 180 days of genetic sales.

        153.      The goal, pu►~pose, and/or effect of the Exclusion Payment Agl•eement was to

maintain and extend AstraZeneca's monopoly power in the United States market for

delayed-release esomepcazole magnesium in violation of Slzet•man Act Section 2, 15 U.S.C. § 2.

The Exclusion Payment Agreement prevented and/or delayed generic Nexium competition and

enabled AstraZeneca to continue charging supracoinpetitive prices for Nexium without a

substantial loss of sales.

        154.      Asti•aZeneca and Ranbaxy knowingly and intentionally cons}~it~ed to maintain and

enhance AstraZeneca's monopoly power in the relevant market.

        155.    AstraZeneca and R.anbaxy specifically intended that their Exclusion Payment

Agreement would maintain AstraZeneca's monopoly power in the relevant market, and injured

CVS thereby.

        156.   AstraZeneca and Ranbaxy each committed at least one overt act in furtherance of

the conspiracy.

        157.   As a direct and proximate result of llefendants' concerted conduct, as alleged

herein, CVS has suffered antitrust injury as alleged above.




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                          CLAIM II: VIOLATION OF 15 U.S.C. § 2
                              (Conspiracy to Monopolize)

                                 (Against AstraZ,eneca and Teva)

        158.    CVS hereby incorporates each preceding end sticceecling pacagrapf~ as though

fully set forth herein.

        159.    At all relevant times, AstraZeneca possessed substantial mat•ket dower (i.e.,

monopoly power') in the relevant market. Ast~•aZeneca possessed the power• to control prices in,

prevent prices from falling in, and exclude competitot•s ft~om the relevant market.

        160.    Through the overarching anticompetitive scheme, including the Exclusion

Payment Agreement with Teva, Astc•aZeneca and Teva conspired to maintain Asti•aZeneca's

monopoly power in the relevant market in order to block and delay entry ofdelayed-release

esomeprazole magnesium., i.e., AB-rated gene~•ic versions ofNexium. The unlawful Exclusion

Payment Agt•eement between AstraZeneca and Teva (a) allocated 100% of the market for

delayed-t~elease esomeprazole magnesium in the United States prior to May 27, 2014 to

AstraZeneca;(b) prevented the sale of generic versions of Nexium in the United States, thereby

protecting Nexium from any generic competition for 6 years or more; and (c)fixed the price direct

purchasers would pay for delayed-release esomeprazole magnesium at supracompetitive levels.

       161.    The goal, purpose and/or effect of the Exclusion Payment Agreement was to

maintain and extend AstraZeneca's monopoly power in the United States market for

delayed-release esomeprazole magnesium in violation of Sherman Act Section 2, 15 U.S.C, § 2.

The Exclusion Payment Agreement prevented and/or delayed generic Nexium competition and




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enabled ElstraZeneca to continue charging slipr~com~a~titive prices for Nexiunl withoG~C a

substantial loss of sales.

         162.   AstraZeneca and Teva knowingly and intentionally co~~s~iced to maintain and

enhance AstraZeneea's monopoly power in the relevant market.

        '163.   AstraZeneca Ind Teva specifically intended that their exclusion Payn~eilt

Agreement would maintain AstraZeneca's monopoly power in the relevant market, and injured

CVS thereby.

        164.    AstraZeneca and Teva each committed at least one overt act in fiu•therance of the

conspiracy.

        165.    As a direct and proximate result of Defendants' concerted conduct, as alleged

herein, CVS has suffered antitrust injury as alleged above.

                             CLAIM III: VIOLATION OF 15 U.S.C. § 2
                                  (Conspiracy to Monopolize)

                              (Against AstraZeneca and Dr. Reddy's)

        166.    CVS hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.

        167.    At all relevant times, AstraZeneca possessed substantial market power (i.e.,

monopoly power) in the relevant market. AstraZeneca possessed the power to control prices in,

prevent prices from falling in, and exclude competitors from the relevant market.

        168.    Through the overarching anticompetitive scheme, including the Exclusion

Payment Agreement with Dr. Reddy's, AstraZeneca and Dr. Reddy's conspired to maintain

AstraZeneca's monopoly power in the relevant market in order to block and delay entry of

delayed-release esomeprazole magnesium, i.e., AB-rated genetic versions of Nexium. The


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unlawful Exclusion Payment A~eeement between Astr~Zeneca and Dt•. Reciciy's (~t) allocated

100% ofthe n~ar•ket foi~ delayed-t•ele~se esorneprazoi~ magnesium in the UrliCed States prior to

May 27, 2014 to AstraZeneca;(b) prevented the sale of genetic versions of NeYiuna in Che United

States, thereby protecting Nexiuin from any generic competition for 6 years or more; end (c)fixed

the price direct purchasers would pay for delayed-release esornep~~azole magnesium at

supracompetitive levels.

        169.    The goal, purpose and/or effect of the Exclusion Payment Agreement was to

maintain and extend AstraZeneca's monopoly power in the United States market for

delayed-release esomeprazole magnesitnn in violation of Shec•tnan Act Section 2, 15 U.S.C. § 2.

The Exclusion Payment Agreement prevented and/or delayed generic competition to NeYium and

enabled AstraZeneca to continue charging supracompetitive prices for Nexium without a

substantial loss of sales.

        170.    AstraZeneca and Dr. Reddy's knowingly and intentionally conspired to maintain

and enhance AstraZeneca's monopoly power in the relevant mac•ket.

        171.   AstraZeneca and Dr. Reddy's specifically intended that their Exclusion

Payment Agreement would maintain AstraZeneca's monopoly power in the relevant market, and

injured CVS thereby.

        172.   AstraZeneca and Dr. Reddy's each committed at least one overt act in fizrthei~ance

of the conspiracy.

       173,    As a direct and proximate result of Defendants' concerted conduct, as alleged

herein, CVS has suffered antitrust injury as alleged above.
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                           CLAIM IV: VIOLATION OI+~ 15 U.S.C. § :l
                              (Agreement Restraining Trade)

                               (A~ainst AstraZetleea and R~nbaxy)

        174.     CVS hereby incorporates each pt•eceding ~lnd succeeding; paragraph 1s though

fully set forth hez•ein.

        175.    In oi• about April 2008, AstraZeneca and Ranb~xy entet•ed into t11e

 AstraZeileca/Ranbaxy Exclusion Paytnent Agreement, a continuing illegal contract, combination,

and conspit~acy in t~estraint oftt~ade pursuant to which AstraZeneca agreed to pay Ranbaxy

substantial consideration in exchange for RanbaYy's agreement to delay bringing generic Nexium

to the mat~lcet, the purpose and effect of which wet~e to: (a) allocate 100% ofthe market foi•

delayed-release esomeprazole magnesium in the United States prior• to May 27, 2014 to

Astt~aLeneca;(b) prevent the sale of genetic versions of Nexium in the United States, thereby

protecting Nexium from any generic competition for 6 years or snore;(c)fix the price direct

purchasers would pay for delayed-release esomeprazole magnesium at supracompetitive levels;

and (d) allocate 100% of United States genetic Nexium sales to Ranbaxy during the first 180 days

of generic sales.

        176.    The Agreement hat~med CVS as set forth above.

        177.    The Agreement covered a sufficiently substantial percentage of the relevant

market to harm competition.

        178.    AstraZeneca and Ranbaxy are peN se liable for the Agreement and/or a~•e liable

under a "quick look" and/or rule of reason standard.

        179.    There is and was no legitimate, nonpretextual, procompetitive business

justification for the Exclusion Payment that outweighs its harmful effect. Even ifthere were



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some conceivable such justification, t~~e pay►nerit was trot necessary to acf~ieve such a plii•pose,

nor• was it the least restrictive means oFachievirlg any stieh p~irported justification.

          180.   As a direct a►7cl proximate res~ilC of AstraZeileca's acid Ranbaxy's a~iticornpetitivc

conduct, as alleged herein, CVS his slrffered antitrust injury as alleged lbove.

                            CLAIM V: VIOLATION OF 15 U.S.C. § 1
                               (Agreement Rest~•airiing Trade)

                                  (A~ainst AstraZeneca aild Teva)

          181.   CVS hereby incorpot~ates each preceding Ind succeeding paragraph as though

frilly set forth herein.

          182.   In or about January 2010, and at times prior to the formal execution thereof,

AstraZeneca and Teva entered into the AstraZeneca/Teva Exclusion Payment Agt~eement, a

continuing illegal contract, combination and conspiracy in restraint of trade under which

AstraZeneca agreed to pay Teva substantial consideration in exchange for Teva's agreement to

delay bringing its generic version of Nexium to the market, the purpose and effect of which were

to:(a) allocate 100% of the market for' delayed-release esomeprazole magnesium in the United

States to Astt~aZeneca;(b) prevent the sale of generic versions of Nexium in the United States,

thereby protecting Nexium from any generic competition for 4 years or more; and (c)fix the price

direct purchasers would pay for delayed-release esomeprazole magnesium at supracompetitive

levels.

          183.   The Agreement harmed CVS as set forth above.

          184.   The Agreement covered a sufficiently substantial percentage ofthe relevant

market to harm competition.




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         185.    AstraZeneca and'Teva aee~~et~,se lilble for the Agreement and/or are liable under a

"quick look" and/or rule of reason standard.

         186.    There is and was no legitimate, nonpreteYtual, procompetitive business

justification for' the Exchision Payment that outweighs its harmful effect. Even if the~~e we►•e

some conceivable such justification, the payment was not necess~iy to achieve such a purpose,

nor was it the least restrictive means of achieving any such purported justification.

         187.    As a direct and proximate result of AstraZeneca's a~1d Teva's anticompetitive

conduct, as alleged het~ein, CVS has suffet~ed antitl•ust injury 1s alleged above.

                           CLAIM VI: VIOLATION OF 15 U.S.C. § 1
                              (Agreement Restraining Trade)

                              (Against AstraZeneca and Dr'. Reddy's)

        188.    CVS hereby incorporates each preceding and succeeding paragraph as though

fully set forth het~ein.

        189.    Beginning in January 2011, and at times prior to the formal exectrtion thereof,

AstraZeneca and Dr. Reddy's entered into the AstraZeneca/Dr. Reddy's Exclusion Payment

Agreement, a continuing illegal contract, combination and conspiracy in restraint of trade under

which Ash•aZeneca agreed to pay Dr•. Reddy's substantial consideration in exchange for Dr.

Reddy's agreement to delay bringing its generic version ofNexium to the market, the purpose and

effect of which were to:(a) allocate 100% of the market for delayed-release esoineprazole

magnesium in the United States to AstraZeneca;(b) prevent the sale of generic versions of

Neaium in the United States, thereby protecting Nexium from any generic competition for 3 years

or more; and (c) fix the price direct purchasers would pay for• delayed-release esomeprazole

magnesium at supracompetitive levels.



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          190.   ThE Agreement l~iarmed CVS as set forth above.

          191.   The Agreement covered ~ sufficiently substantial pei~ceritlge of the relevant

market to harm competition.

          ]92.   AstraZeneca and Di•. Reddy's are per se liable for the Agreement and/oe are liable

under a "quick look" and/or rule of reason standard.

          193.   There is and was no legitimate, nonp~°eteYtual, procoinpEtitive business

justification for the Exclusion Payment that outweighs its hai•inf~il effect. Even if there wet•e

some conceivable such justification, the payment was not necessary to achieve such a purpose,

not was it the least restrictive means of achieving any such puipoi~ted justification.

          194.   As a di1•ect and proximate result ofAstraZeneca's and Dr. Reddy's anticompetitive

conduct, as alleged herein, CVS has suffered antitrust injury as alleged above.

                            CLAIM VII: VIOLATION OF 15 U.S.C. § 2
                            (Monopolization and Monopolistic Scheme)

                                      (Against AstraZeneca)

          195.   CVS hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.

          196.   At all relevant times, Asti•aZeneca possessed monopoly power• in the relevant

market.

        197.     Through an overarching scheme, as alleged extensively above, AstraZeneca

willfully maintained its monopoly in the relevant market using restrictive or exclusionary

conduct, rather than by means of greater business acumen, including but not limited to, executing,

implementing, and otherwise complying with the Agreements with Ranbaxy, Teva, and Dr.

Reddy's, in violation of Section 2 of the Sherman Act.


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         198.    It was ~lstraZeneca's conscious object to control prices a►id exclude competition i11

the relevant nlai~ket by and through the overarching ~nticonlpetitive schei~~e.

         199.    As a direct and proximate i•esttlt ofAstcaZeneca's illegal and monopolistic

conduct, as alleged herein, CVS h1s suffeeed antitrust injury as alleged above.

                           CLAIM VIII: VIOLATION OF 15 U.S.C. § 2
                                  (Attempt to Monopolize)

                                       (Against AstraZeneca)

        200.    CVS het~eby incorporates each preceding and succeeding pat•agraph as though

frilly set forth herein.

        201.    AstraZeneca possesses monopoly power in the relevant market, or possesses a

dangerous probability of success in achieving monopoly power in the relevant market.

        202.    With the specific intent to achieve a monopoly, AstraZeneca willfully maintained

its monopoly in the relevant market by its overarching scheme as described herein, including, but

not limited to, executing, implementing, and otherwise complying with the Agreements with

Ranbaxy, Teva, and Dr. Reddy's, in violation of Section 2 of the Sherman Act.

        203.    As a result of AstraZeneca's unlawful exclusionary conduct, generic competition

has been suppressed and CVS has been overcharged for delayed-release esomeprazole

inagnesiuin, as alleged above.

        204.    As a direct and proximate result of AstraZeneca's anticompetitive conduct, CVS

has suffered antitrust injury as alleged above.
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                           CLAIM IX: VIOLATION OF 15 U.S.C. § 1
                              (Agreement Restraining Trade)

                                    (Against All ;Defendants)

         205.    CVS hereby incorporates each preceding and succeeding paragraph as though

 fully set forth herein.

         206.    By entering into the Exclusion Payment Ageeenze►1ts, AstraZeneca orchestrated

 and brokered an agreement between and among the Generic Defendants not to compete with each

other or with AstraZeneca, which constituted a continuing illegal contt•act, combination, and

conspiracy in restraint of trade. AstraZeneca agreed to pay each of the Generic Defendants

substantial consideration in exchange for their agreement with AstraZeneca, and between and

among each other, to delay generic Nexium tmtil May 27, 2014, the purpose and effect of which

was to: (a) allocate 100% of the market for delayed-release esomeprazole magnesiurrz in the

United States to AstraZeneca;(b) prevent the sale of generic versions of Nexium in the United

States, thereby protecting Nexium from any generic competition for• 6 years or more; and (c) fix

the price direct purchaset•s would pay for delayed-release esomeprazole magnesium at

supracompetitive levels.

        207.    This agreement harmed CVS as set forth above.

        208.    This agreement covered a sufficiently substantial percentage of the relevant

market to harm competition.

        209.    There is and was no legitimate, nonpretextual, procompetitive business

justification for this agreement that outweighs its harmful effect. Even if there were some

conceivable such justification, this agreement was not necessary to achieve such a purpose, noc•

was it the least restrictive means of achieving any such purported justification.


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         210.    As a direct end proximate resulC of Defendants' agreements, CVS his suFfered

antitrust injury as alleged above.

                            CLAIM X: VIOLATION OF 15 U.Q.C. § 2
                                (Conspiracy to Monopolize)

                                     (Against Atl Defendants)

        211.     CVS hereby incorporates each preceding and succeeding paragraph as though

frilly set forth het~ein.

        212.     At all t•elevant tunes, AstraZeneca had monopoly power• in the relevant market.

        213.     Through the overarching anticompetitive scheme, including the Exclusion

Payment Agreements between AstraZeneca, on the one hand, and Ranbaxy, Teva, and Dx•.

Reddy's, on the other, Defendants conspired to maintain AstraZeneca's monopoly power• in the

relevant mat~lcet in order to block and delay mat•ket entry ofdelayed-release esomeprazole

magnesium, i.e., AB-raked generic Nexium. The unlawful Exclusion Payment Agreements

between AstraZeneca and the Generic Defendants allocated all sales ofdelayed-release

esoineprazole magnesium in the United States prior to May 27, 2014 to AstraZeneca; delayed the

sales of generic Nexium products; and fixed direct purchasers' price for delayed-release

esomeprazole magnesium at supracompetitive levels.

        214.     The goal, purpose, and/or effect of the conspic•acy was to maintain and extend

AstraZeneca's monopoly power in the United States market for delayed-release esomepr•azole

magnesium in violation of Sherman Act Section 2. The conspiracy prevented and/or• delayed

generic Nexiutn competition and enabled AstraZeneca to continue charging supracompetitive

prices for Nexium without a substantial loss of sales.




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          215.   Defendants Knowingly end intentionally conspired to mlintain aald enhance

AstraZeneca's monopoly power in the relevant market.

          216.   Defendants specifically intended that their conspiracy would maintaiiz

AstraZeneca's monopoly power in the t~elevant market.

          217.   As a direct and proximate t•esult ofDefendants' concerted conduct, CVS has

suffered antitrust injury as alleged above.

                                  DEMAND FOR JUDGMENT

          WHEREFORE, Plaintiff prays for judgment against Defendants and for the followilzg

relief:

          A.     A judgment for three times Plaintiffls actual damages, as determined by a jury at

                 trial;

          B.     Permanent injunctive relief enjoining Defendants from continuing their unlawful

                 conduct and requiring them to take affirmative steps to dissipate the effects oftheir

                 prior conduct;

          C.     The costs of this suit, including reasonable attorneys' fees as provided by law;

                 and

          D.     Such other and further relief as the Court deems just and appropriate.




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                                    JURY DEMANll

   PlaintifFdemands atrial by j~iry on all issues so triable.



   Dated:    April 11, 2014                       'Respectfully submitted,



                                                   /s/ Douglas H. Patton

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